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            IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY, MISSOURI
                                at Charleston
  MCIVAN JONES, 	                      )
  P. O. Box 333                        )

  East 'Prairie, Missouri 63845,       )

                                       )

                Plaintiff,             )

                                       )

        vs. 	                          )         Case No: 

                                       )

  CORNERSTONE NATIONAL INSURANCE)                JURy TRIAL DEMANDED 

  COMPANY,                      )

  Serve: Registered Agent:      )

  James C. French               )

  3100 Falling Leaf Court       )

  Suite 200                     )

  Columbia, Missouri 65201,     )

                                       )	
                Defendant.             )                                         Coon 1nsurancP
                                     PETITION

       Comes      now   Plaintiff    Mclvan       Jones,      by    and    through    his

  attorneys, COOK, BARKETT, PONDER & WOLZ, L.C., and for his cause of

  action against Defendant Cornerstone National Insurance Company,
  alleges as follows:
       1. Plaintiff McIvan Jones is and was at all times relevant

  hereto a resident and citizen of Mississippi County, Missouri.
       2.       Defendant    Cornerstone         National          Insurance     Company

  (hereinafter "Cornerstone") is an insurance company organized and
  existing under the laws of the State of Missouri and having its
  principal place of business in the State of Missouri.
       3. At all times relevant hereto, Cade Coon of Coon Insurance
  Company was      acting    on   behalf    of    and   as    agent       for   Defendant
  Cornerstone.
       4. 	 At all times relevant hereto, Plaintiff owned certain real

  and personal property located at 301 South 52 nd First Road, East
  Prairie, Missouri.
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                                                   2


         5. In reliance on a prior conversation he had with Cade Coon
  discussing impending flood insurance coverage, Plaintiff took out a

  mortgage on the aforementioned property with Focus Bank in East
  Prairie, Missouri, on or about April 23, 2011.

         6. On or about April 27, 2011, Plaintiff applied for a flood

  loss insurance policy with Defendant Cornerstone through its agent,
  Cade ,Coon of Coon Insurance Company.
         7.    On or about April 27,               2011,        in consideration for the
  aforementioned        policy,    Plaintiff             paid      the   policy   premium    of
  $3,744.00 to Coon Insurance Company.
         8. On April 28, 2011, Coon Insurance Company issued Plaintiff
  a   Declaration       of   Coverage        for        flood    loss    protection   on    the

  aforementioned property with Defendant Cornerstone, Policy Number
  XX-XXXXXXX-2011, thereby giving Plaintiff an insurable interest in
  said property. A copy of the policy and Declaration Sheets are

  attached hereto as "Exhibit A."
         9. The aforementioned policy was in full force and effect from
  April 28, 2011 through April 28, 2012.
         10.    On or about May         4,    2011,        the aforementioned real and
  personal property was destroyed by flood.
         11. On or about May 7,               2011,       Plaintiff complied with all
  conditions precedent to recovery under the policy and sought the
  benefits of coverage provided under said policy.
         12.   By letter dated July 26,                    2011,     Defendant Cornerstone
  denied Plaintiff's claim under the aforementioned policy on grounds
  that   the    flood    which    destroyed             Plaintiff's       property was      "in
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  progress H as of May 22, 2011, thereby relieving Defendant from any
  liability for payment of the benefits owed under the policy.

                                    COUNT I 


                             BREACH OF CONTRACT 


       Comes now Plaintiff McIvan Jones and for Count I of his cause
  of action against Defendant Cornerstone National Insurance Company,
  alleges as follows:

       13.   Plaintiff   realleges    Paragraphs        1    through   12   of   his

  Petition as if set forth fully herein.

       14. On April 28, 2011, Plaintiff and Defendant Cornerstone
  entered a contract whereby Defendant Cornerstone agreed to insure
  Plaintiff against property damage caused by flood.

       15. Plaintiff paid Coon Insurance Company a check for the
  policy premium in the amount of $3,744.00, which was accepted by
  Defendant as consideration for coverage.
       16.   Said   policy    was    in        effect   on   the   date     of   the
  aforementioned flood loss.
       17.   Defendant Cornerstone has breached its contract with
  Plaintiff by failing to make any payment under the flood loss
  policy issued to Plaintiff.
       WHEREFORE,   Plaintiff prays for judgment on Count I against
  Defendant Cornerstone National Insurance Company for the policy
  limits of the aforementioned policy in the amount of Three Hundred
  Eighty-Eight Thousand Dollars ($388,000.00), as the trier of fact
  deems fair and reasonable, for his costs herein expended and for
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  such other and further relief as to the Court seems just and
  prope,r.

                                    COUNT II 


                           VEXATIOUS REFUSAL '1'0 PAY 


        Comes now Plaintiff McIvan Jones and for Count II of his cause
  of action against Defendant Cornerstone National Insurance Company,
  alleges as follows:
        18.    Plaintiff   realleges   Paragraphs   1     through   12   of   his
  Petition as if set forth fully herein.
        19. On or about April 28, 2011, Defendant Cornerstone, by and
  through the acts of its agent, Cade Coon of Coon Insurance Company,
  agreed to insure Plaintiff's real and personal property against
  flood loss.
        20. Subsequently, Plaintiff's insured property was destroyed
  by flood on May 4, 2011.
        21.    Plaintiff complied with all conditions precedent and
  timely notified Defendant Cornerstone of the property loss on May
  7, 2011.
        22. Plaintiff was notified by letter dated July 26, 2011 of
  Defendant Cornerstone's refusal to pay Plaintiff the benefits of
  the policy.
        23. Defendant Cornerstone's denial of Plaintiff's claim for
  benefi ts    under   the policy are unreasonable and vexatious,             as
  defined by Section 375.296 RSMo., because the flood which destroyed
  Plaintiff's property was not in progress at the time the policy was
  purchased.
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        WHEREFORE, Plaintiff prays for judgment on count II against
  . Def.endanL.comerstone. NationaL .. Insurance . Company_ in..the ..amount~. __ .
   provided by statute for attorney's          fees   and for pre-judgment
   interest from and after July 26,          2011, and for such other and
   further relief as to the Court seems just and proper.

                                    COUNT III 


                           NEGLIGENT MISREPRESENTATION 


        Comes now Plaintiff Mclvan Jones and for Count III of his
   cause of action against Defendant Cornerstone National Insurance
   Company, alleges as follows:
        24.    Plaintiff    realleges   Paragraphs    1   through   12   of   his 

   Petition as if set forth fully herein. 

        25.    At the time Plaintiff purchased the policy at issue
   herein, Defendant's agent, Cade Coon, represented.to Plaintiff that
   his property would be covered for flood damage from and after the
   effective date of the policy, to-wit: April 28, 2011.
        26. The representation described in the foregoing paragraph
  was false.
        27.   At the time said representation was made Defendant' s
  agent, Cade Coon, knew said representation was false or did not
  know if the representation was true or false.
        2B. The representation was material to the purchase of the
  insurance policy by Plaintiff.
        29.    Plaintiff relied on the representation in making his
  decision to purchase the insurance and in so relying Plaintiff used
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   that degree of care that would have been reasonable in Plaintiff's



        30.   Plaintiff further relied upon such representation when

   executing a mortgage and incurring indebtedness on the affected
  property in favor of Focus Bank.

        31.   As   a   direct   result   of   the   representation    made   by

  Defendant's agent, Plaintiff sustained damage.

        WHEREFORE, Plaintiff prays for judgment on Count I I I against

  Defendant Cornerstone National Insurance Company in such an amount

   in excess of Twenty-Five Thousand Dollars          ($25,000.00),   for his

  costs incurred herein and for such other and further relief as to

   the Court seems just and proper.


                                Respectfully submitted,


                                COOK, BARKETT, PONDER AND WOLZ, L.C.




                                     J. Mic ael Ponde     - #38066
                                     Attorney for Plaintiff
                                     715 North Clark, P. O. Box ll80
                                     Cape Girardeau, MO 63702-1180
                                     Telephone: 573/335 6651
                                     Fax Number: 573/335-6182
                                     E-Mail: mponder®cbpw-law.com
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                                        GENERAL PROPERTY 

                                                              POLICY 

                            NATIONAL FLOOD INSURl\.NCE PROGRAM 

                                          STANDARD FLOOD INSURANCE POLICY 


(Issued Pursuant to the National Flood Insurance Act of 1968, or Any Acts Amendatory Thereof (Hereinafter
Called the Act), and Applicable Federal Regulations in Title 44 of the Code of Federal Regulations, Subchapter B)
                                                                                                                                 RevIsed May 1, 2003


 Processed on behalf of the "Write Your Own" Company Shown on your Flood Insurance Declarations Page by 

                                                            National Flood Services 

                                                     Flood Insurance Processing Center 

                                                               PO Box 2057 

                                                        Kalispell, MT 59903·2057 


  TO REPORT A FLOOD LOSS, CONSULT YOUR rNSURANCE AGENT OR CALL NATIONAL FLOOD 

                                   SERVICES AT 

                                   (800)759-8656 


                                                 CLAIM GUIDELINES IN CASE OF A FLOOD

for the protection of you and your fllmily, the following claim guidelines are provided by the National Flood Insurance Program (NFIP). If you ore
ever in doubt as to what action is needed, consult your insurance representative.                                     .
Know your insurance representative'S nEime and telephone number. List them here for fast reference:
Insurance Representative _ _ _ _ _ _ _ _ _ _ _ __
Representative's Phone Numbef _ _ _ _ _ _ _ _ _ __
lfyou cannot reach your agent, report your claim directly by calling the NFS Claims Department at 1-800-759-8656.
•	   Notify your insurance representative, in writing, as soon as possible lifter the flood.
•	   Dctennine the independent claims adjuster assigned to your claim and contact him or her if you have not been contacted within 24 hours alter
     you reported the claim to' your insurance representative.
•	   As soon liS possible, separate damaged property from undamaged propCI1y so Ihnt damage can be inspected a!\d evaluated.
•	   Discuss with the claims adjuster any need you may have for an advance Of partial payment for your loss.
     To help the claims adjuster. try to take photographs of the outside of the premises showing the flooding and the damage and photographs of the
     inside of the premises showing the height of the water and the damaged property.
     Place all account books, financial records, receipts, and other loss verification material in a safe place for examinatioll and evaluntion by tl1c
     claims adjuster.
     Work cooperatively and promptlywHh the claims adjuster to determille and document all claim items. Be prepnred to advise the claims adjllster
     of the cause u"d responsible party(ies), if the flooding resulted from other than natural cause.
•	   Make sure that the claims adjuster fully explains, and that you fully understand, all allowances and procedures for processing claim payments on
     the basis of your proof ofloss. This policy requires you to send us detailed proof of loss within 60 days after the loss.
     Any lind all coverage problems And claim allowDllce restrictions must be communicated directly from the Company. Claims adjusters llre not
     authorized to approve or dellY claims; their job is to report to the Company on the elements of flood cause and damage.
At our option, we may ~cccpt un adjuster's report of the loss instead of your proof of loss. The adjuster's report will include intbnnntion about your
loss and the damages to your insured prop~rty. You must sign the adjuster's report. At our option, we 1118Y require you to swear to the repoil.



                                                                                                                                 EXHIBIT
                               STANDARD FLOOD INSURANCE {'DLle\' GENERAL PROPERTY FORM
                                                                                                                                  A
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                                                                IMPORTANT CHANGES

L     Section III. Property Covered. A. Coverage A .Bulldlng Property, 3.
      Additions Dnd extensions to buildings that are connected by 1\ rigid exterior wall. II solid load·bearing interior wall. a stairway, an elevated
      walkwuy, or u roof may be insured us part of the building. At the option of the insured. these extensions and additions may be insured
.. _.~~~,.AdditiQn.s_fJ.ru!.c::1(tensioMJh.W..lllil~lQ .!U1.\!iIl.f:.QD.!.act. ""il~yilding.pyrn~.IJ.!i.llfllc.oJlmW!liDteri..Q!.Y'1!!BlJl!_~ j~ not ~ ,soHQ. __ ._
       load·bearing wall are olways considered part of the building and cannot be insured separately.
 2. 	 Seetion 111. Property Covered, B. Coverage B ·Persollal Property, 5. Special Limits
       Coverage for fine arts, collectibles. jewelry, and furs, etc., has been increased to $2500.
 3. 	 Section III. Property Covered B. Conrage B ·Personal Property, 8.
       Coveruge for condominium unit owners has been extended to apply up 10 10 percent of the contents coverage for losses to interior walls, floors.
       and ceilings not covered by the condominium association's master policy.
 4. 	 Section III, Property Covered, C. Coverage C -Other Coverages, 2.a. & b.
       Coverage for the two loss IIvoidance measures (sandbagging and relocation of property to protect it from flood or the imminent danger of flood)
       has been increased to $1,000 for each.
S. 	 Section III. Property Covered, C. Coverage C· Other Coverages, 3. PollutIon Damage
       Coverage for t:.Jmage caused by polluta:lts to covered property has been limited to $10,000. This does not cover the cost of testing for or
       monitoring of pollutants unless it is required by law or ordinance.
6. 	 Section IV. Pro pert)' Not Covered,S ••. & b.
       Coverage has been changed to pay for losses to self.propelled vehicles used to service the described location or designed to assist handicapped
       persons provided that the vehicles are in II building at the described location.
7. 	 Section IV. Property Not Covered, 7.
       Coverage is now specifically excluded for scrip and stored value cards.
8. 	 Section IV. Property Not Covered, 14.
       Coverage for swimming pools, hot tubs, and spas (that are nOI bathroom hOI tubs or spas), and their equipment is now cKcluded.
9. 	 Section V. Exclusions, B.l & 2.
       The explanation of when coverage begins as it relates to a loss in progress has been simplified.
 10. 	 Sectlon V. Exclusions, C.
       Coverage has been clarifled to pay for losses from land subsidence under certain circumstances. Subsidence of land along a lake shore or
       similar body of water which results from the erosion or undermining of the shoreline caused by waves or currents of waler exceeding cyclical
       levels that result in II flood conlinues to be covered. All olher land subsidence is now excluded.
 11. 	 Section V. ExclUSions, D.4.b.(3)
       Coverage is now el:cluded for water, moisture, mildew, or mold damage caused by the policyholder's failure to inspect and maintain the insured
       property after the flood waters recede,
 12. 	 Section V. EX\lluslons, 0.6.
       Coverage is added for damage from the pressure of water against the insured structure with the requirement that there be a flood in the area and
       the flood is the proximate cause of damage from the pressure of water against the insured structure,
 13. 	 SectIon VII. General Conditions, G. Reduction and Reformation of Coverage, 2.a.(2) 

       Ir it is discovered before II claim occurs that thl.'re is incomplete rating information. the policyholder has 60 days to submit missing rllting 

       infonnation. Otherwise. the coverage is limited to the amount of coverage that cao be purchased for the premium originally received and can only 

       be increased by an endorsement that is subject to the appropriate waiting period (currently 30 days), 


                                                      STANDARD FLOOD INSURANCE POLICY

                                                            GENERAL PROPERTY FORM

PLEASE READ THE POLICY CAREFULLY.                             THE FLOOD INSURANCE PROVIDED IS SUBJECT TO LIMITATIONS, 

RESTRJCTIONS, AND EXCLUSIONS. 


THIS POLICY PROVIDES NO COVERAGE:

  I. 	 IN A REGULAR PROGRAM COMMUNITY, FOR A RESIDENTIAL CONDOMINIUM BUILDING, AS DEFINED IN THIS POlley; 

       AND 

2. 	 EXCEPT FOR PERSONAL PROPERTY COVERAGE, FOR A UNIT IN A CONDOMINIUM BUILDING.
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                                                                                              Building does not mean a gas or liquid storage tank or a l'e<:re<>ti(ll1al
                                I. ACREEMENT                                                  vehicle. park tmiler, or other similar vehicle. e,~cept as described in
                                                                                              B.6.e,. above.
Tht Company pro'1d~. flood inlurnncc under tht terms orthe National
Flood Insurance Ad of 1968 and its amendments, alld Tille 44 oflhe                    7. 	 CalltellaUon. Tile ending or the insurance             cov~rllge      provided by this
Code of Federal Rfgulatloni (CFR).                                                         (Kllicy beror. the e,~pil1llion date.

We will PlIY you for direct physicRllou by or from flood 10 YQUI insun:d              8. 	    Condominium. Th"t f(lflTI of ownership of real propelty in which eDch
property if you:                                                                              unit owner has an undivided interest in common elements,
I. 	 Have paid the C01Tect pl'emium:
2. Comply with all tenlls and conditions of this policy; and                          9. 	 CondomlnlufI\ Anoeiation. The entity' m~de up of the unit ownm
3, Have fumi3hed accul'ilte infonnation and statements.                                    responsible for the maintenance and operation of: •
                                                                                           n. 	 Common demenl$ owned in Iindivided shares by unit owners; and
We have the right to review the infonnation you give us at any time Dnd 10                 b. 	 Other real property in which lh~ unit owners have use righ1s :
revise youl' polley based on 0111' review.
                                                                                              where membership in the entity is a required condition of unit
                               II. DEFINITIONS                                                ownership.

A. 	   In this policy. "you· and 'your" refer to the insured(s) shown on the          10, 	 Declnatlons Page. A computer-generated silllllnary of information you
       Derlaratlolls Page of this policy, 'lnsurcd(s}" includes: Any mortgagee              provided in the application for insu"lIlce, 1lle Oedaratiom Page also
       and loss payee named in thl: Application and Declarations Page, as                   describes the tenn of the policy, limits of coverage, and displays the
       well as any other mOltgagee or loss payee delen'!'lin~ to exist at the lime          premium and our name. The Declarations hae is a part of this flood
       of IOS5 in the order of prl:l:edence. ·We," "us,' and "0111'" refer to the           insumnce policy.
       insurer,
                                                                                      II. 	 Described Location, The location where the insured building or
Some definitions are complex because they are provided as thC)' appeal' in the                persona I property are found. The described location is shown on the
law or regulations, or result from court CRSes. The prCj:ise definitions ol'e                 Dcelnrallons Page,
intended to protect you.
                                                                                      12. 	 Dir<'<'t Physical Loss B)· or From Flood. Los~ or damage to insured
Flood, as us~-d in this flood insul'llnc~ policy, means: 
                                  pl'(Ipelty. dir~lIy caused by n flood, Th~re must be evidence of physic"l
L A g~neral and temporal)' condition of partial or complete inundation of 
                 changes to the property,
     two or l110re acres of nOI,nally dry land area or of two or more properties
     (allenst one of which is your property) fl~)!n;                                  13. 	 Elevated Bulldini:. 1\ building that has no basement and thst has its
     •. 	 Ovelflow of inland or tidal wate!'s;                                              lowest elevated 11001' 11lised above ground lev.l by fouod.tion walls,
     b. 	 Unusual and rapid accUlllulation or [\Inoff of surface waters from                shear \YuH" post•• pi~rs. pilings, or columns.
           allY sourte:
     c. 	 Mudnow.                                                                     U. 	 Emergency Program, The initial phose of a community's palticipalion
                                                                                              in the National Flood hl$Uranee Program. Duling this phase, only
2. 	   Collapse or subsidence of land along the sh~r.! of a lake or similar body              limited amounls ofi:1surnnce are available under the Act.
       of water as a result of erosion 01' undennining caused by waves or
       eun'~nts of water exceeding anticipated ~)'Illical levels thai result in a     IS, 	 EXPCIISC COlmnnl. A flQt charge you must pal' on each new or renewal
       flood as defined in A.I.p, above.                                                    policy to defray the expenses of the Federnl Oovemlnent related to flood
                                                                                            insurance.
D. 	 The followin:: are the other key ikfinitions that we lISe in this polley:
                                                                                      16, 	 Federal Pollc)' Fee, A flat charge you must pay 00 ~ach new or renewal
L 	 Act. The National Flood !nsullInce Act of 1968 and any amendments to                    policy to defray celtain adminiSlmtive expenses incurred in carrying out
    it.                                                                                     the National Flood 11Isurance Program, This fee covers expenses not
                                                                                            covered by the expense constant.
Z, 	   Actual C.,h Value. Tile o08tl0 replace on in5ured itenl of propclty 01
       the tillle of loss, Jess the valueof its physical d~pt'eoiation,               17. 	 Impro"cmentl. Fixtures. alterntion5. installations.                     or additions
                                                                                            cOl11prising a PlItt of the insured building.
3. 	   Application. The statemenl made and signed by you 01' yOUI' agent in
       applying for this policy. The applicatlon gives in[onnation we use to          18. 	 Mudflow. A river of liquid and flowing mud on the surfaces of nOl1nully
       detennine the eligibility of the risk, the kind of )lOli~y to be issued, and         dry lund areas, as wilen r:arth is callied by a Cllmnt of water. Other r:arth
                                                                                              m.o\lements~   such   tlS   landslide. slope failure,   01'   a satut1lted soil mass
       the correct pn:miulll payment, The appllcaUon is port of this flood                    moving by liquidity down a slope. are not rnudnows.
       insunlnce polity. For us to issue you Q polley. the con'ect pn:lll;um
       payment must accompany the applicnlion,                                        19. 	 National Flood Insuran,e Program (NFlP). The pmgrdl1l of flood
                                                                                            insulllnce cover1lge and Ooodplain management administerL'd under the
4. 	   Bnn Flood. A nood having a 'one pel'C<:llt chance of bdng equaled or                 Act and applicable Federnl regulations in Titk 44 oftbe Cod~ of Federal
       ellcL-rocd in any gi ven ),car, .                                                    Reg\llations, Subchapter B.

S. 	   Basemcnt, Any area of the building, including any sunken room or               20. 	   Poli~y.   The entire wliU.n contract between )'011 and us. It includes:
       sunken pOll ion of n rooln, having its noor below ground level (subgrnd~)              a,     11115 printed fonn;
       on all sides.                                                                          b,     111C application and Declarations Page:
                                                                                              c. 	    Any endorsement(s) that may be issued; and
6. 	 Building,                                                                                d. 	   Any renewal certificate indicating that covemge has Ix:~n lrlStituted
     o. 	 A stl1lclure with two or more outside rigid walls and a fully                              for a new policy and new polity teon.
          secured roof, thaI is affixed to a permanent site;
     b. 	 A manufactured home (a ·manuf~ctured home," also known as a                         Only one building, which you specilically described in the applicatioll,
          mobile home, is 0 stnlcture: built on a permanent chus.is,                          mny b.: insured under this policy.
          tmnsp0l1ed to its site in one or more sc-ctions. and anlxed to u
          pennnnenl foundation): or                                                   21. 	 p"lIutanls. Substances Ihat includc. but ~I-e not limited to, an)' solid.
     c. 	 A tra.d Il.. ikr without wheels. built 011 fl chassis and affixed to n            liquid. gaseous, or thcnnal irrilant Of contaminant, including smoke,
          pelTl'lunent foundation, that is l'egulatcd under the community'S                 vnpor. SOOI. rumes. acids. atkalis, chemicals. and waste, "W~ste"
          t100dpluin management and building ordinances or loWS,                            includes, but is not limited to. matclials to be rec)'llled, reconditioned, or
                                                                                            l'eclailn<d,
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12. 	 "os!-FI RM Building. A buildlllg for which construction 01' sub$tantiol                 n. 	   VcnlilatinjS t'quipmem;
      improvement !lectllred afier D~ccm[j,:r 31. 1974. or on or nftcr the                    o. 	   Wall millurs. pcmlanently instalkd; nnd
      ~IT,ctiv~ dat. of t\11 Initial Flood Instu;mce R3!e Map (FIRM), whkhevcl'               p. 	   In tlw units within (he building, in,talled:
       IS l(ll~r.                                                                                    (I)    Suilt·in dishw,"sliers;
                                                                                                     (2)    Built·in micl'owave ovens;
23. 	 Proballoll Premium. A nat ~hJrgc you must pay on tnch new or                                   (3) 	 Garbage disposal \lnilS;
      n.:n.:wal polie), issued covcllng propelty in a community that the NFlP                        (4)     Hot water heaten, including solar water heaters;
      h~s plnced on probation under the provisions of 44 CFR 59,24,                                  (S)    Kitchen cabinets;
                                                                                                     (6)     Plumbing fixtnres;
24, 	 Regular Progrnm. The final pl1ase of a community's pnrticipDtioo ill tlw                       (7)     Radiators;
      Natlonul Flood Insurance Program. In this phase. d Flood Insurnnce                             (3)     Rnng.:s;
      Rate Map is in effcct and Cull limits of coverage nre available under the                      (9)     Ref.iger:l.tol1; and
      Act                                                                                            (10) Stove:;.

25. 	 Resldentlal Condominium Duildlng. A building, owned and                          5. 	 Mnterials and S\lpplics to be \,scd for cOl1sln.ction. altemtion. or repair of
      ~dministe,."d as A condominIum, containing one or mor~ family IIllitS
                                                                                            the insured bllildlng while the mntelials and supplies al'e stored in a fultv
      nnd in which atlenst 75 percent of the floor al'e3 is resiuential.                    enclosed building at the described location or on an adjaccm propcl1y, •

26. 	 Spet!:11 flood Hlizard Area, An urea having special flood. or nludflow.          6, 	   A building under construction••Itemtion. or repair at the deicrlbcd
      andlor flood-related erosion bazards, and shown on a Flood Hazard                       locoflon.
       Boundal)' Mal' or flood Insurance Rate Map as Zone A, AO. AI-A30.                      a. 	 !f the structure is not y~t walled or roored as desclibed in the
                                                                                                    definition for building (5,e /1, n. 6.8.), then coverage applies:
       AE. A99, AH, AR. ARJA, ARJAE, ARlAH, ARIAO. ARlAI·A30. VI·
                                                                                                    (I) 	 Only white such work is in prcgress; or
       V30, VE. or V.
                                                                                                    (1)     If such work is halted, only for a peliod of up 'to 90
27. 	 Stock. Merchandise held in storage or for sale. row materials. Bnd in·                        conti nuous days there!! ner.
      process or finished good:;. including supplies used in their packing ilr                h. 	 However. covcroge docs not apply until the building is walled and
      shipping, Sto~k does nol include any property no! ¢OVCl'ed unde,' Section                     roofed if the lowest floor, including the bucmcnt floor, of R non·
      IV. Property Not Covered. except the following:                                               elevated building or the lowest elevated noor of an ehw3ted
      a. 	 Parts and equipment for self-propelled ychieles;                                         building is:
      b. 	 Furnishings and equipll1ent for wQtercmft;                                               (I) 	 Below the baH flood elevBtion in Zones AH. AE, A 1·1\30.
      c. 	 Spas and hot·tllbs, including their equipment; and                                             AR. ARiAE. ARlAH, ARIA I·AJO. ARIA. ARJAO; or
      d. 	 Swimming pool equipment.                                                                 (2) 	 Below the bon flood elevDtion adjusted to include the eflect
                                                                                                          of wave acHon in Zones VE Ol' VI·V30.
28. 	 Unit. A un!! in a condominium building.
                                                                                                     TIle lowest 1100r levels fire based on the bottom of the lowest
29. 	 Valued Polic),. A policy in which the insllred and the insurer agree on                                                       or
                                                                                                     hQrizonral sl1ucturJI member the floor in Zones VI?: or VI·V30
       the value of the property insured, that value being payable in the event                      and the top of the flool' in Zonl'S AH. AE, Al·A30. AR, AR.'AE.
       of a total loss. TIle Standurd Flood Insumnce Policy is /lot R valued                         ARlAH, ARlAI·A30. ARIA, ARiAO.
       poll~)·.
                                                                                       7. 	   A manufactured home or a tmvel truiler ,"5 described in the D~finitions
                             III. PROPERTY COVERED                                            section (sec I!.B.6.b.and 1I.6,6.e.).
                                                                                              If the manufactured home 01' tmvellrniter is in n speclol flood hazard
                                                                                              ar<'H, it must be anchored in the following manner 8t the time of the loss:
A.   COVERAGE A· BUII,DING PROPERTY
We insure Dllllinst direct physical Ion by or from flood to:                                  n. 	 Sy over·the-lOp 01' frame ties to gro\,nd anchon; or
L    The building descdbed On the Dcdanliiolls Page at the deHribcd                           b. !n accordance witll the mllnufacturer's specifications; or
     location. If the bulldll1g is a condomlniul1l building and the named                     c, In' compliance with the community'S floodplain managel1lent
     insured is the condomInium assodlltion. COliel'Oge A includes 811 ulllls                        requirements
     within the building nnd the Improvements within the units. provided                      unless it has been continuously insured by the Nf'lP at Ih. "111~
     tbe units are owned in COImnon by nil unit owners.                                       described locatloll since September 30. 1982.

2. 	   We also insure building propelly for a period of 4S days at another             8. 	   Items   0: propelty in a building enclosure below the lowest elevated
       location, as set forth in 1II.C.2.b., Property Relnov~d III Safety.                    floor of 'an elevMed post.FIRM building locoled in Zones AI·A30.
                                                                                              AE. AH. AR. ARIA. ARlAE, ARlAH, ARlAI.A30, VI·V30. or YE, or
3. 	   Add ilions and extensions attached 10 and in contact with the buildillG by             in a b.som.nl, regardless of the zone. Coverns. is limited 10 the
       means of a rigid exterior wall, a SQlid load·bearing inlerior         waii.
                                                                                a             following:
       5tairway, an elevated walkway. or n roof. At your option, additions and                a. 	 Any of the following items, if irn;talled in their fUnctioning
       e)(lension~ connected by any of these methods Inay be sep(lIl1tely
                                                                                                    loeMions and. if necessary for operation. connected to a pOIYer
                                                                                                     s.ource:
       ;n5ured. Additions and ext(llSions attached to and in CQntact with the
                                                                                                     (J) 	 Centrol ail' conditioners;
       building by means of n common interior wall that is not a solid l03d·
       bc:uring wall are always considered part of the building nnd cannol be                        (2) 	 Ciste1l1s and the water in them;
                                                                                                     (3) 	 Drywall for walls and ceiliog:s in A basement and tbe cost of
       separdtely insurW.
                                                                                                            labor 10 nail ii, unfinished and unfioated nnd not taped, to the
4. 	   The following fixtures, machinery, and equipment, which        al'C   covered                        frllming;
       II mlcr Coverllg~
                      A only:                                                                        (4) 	 Electrical junction amI circuit bl'enker IxIxes;
       n. Awnings and canopies; 
                                                                    (5) 	 ElectJ;cal outlets and switches;
       1.>.    Blincls; 
                                                                            (6) 	 Elevators. dumbwaiters, and n:lat~d equipment, except for
       c.      Cnrpet penmmently installed owr untinished tlooring:                                         related equipment inslolled below the base flood elevation
       d,      Cenll'Ul ail' conditioners:                                                                  after g"rtember 30. 1987;
       c. 	    Elevalor equipment;                                                                   (7) 	 Fuel tanks and the fucl in them:
       f. 	    Fin: elttinguishing app~rat\ls;                                                       (8) 	 furnaces and hOI water heaters; 

                                                                                                     (9) Heal pull1pS; 

       g.      fin: sprinkler systems; 

                                                                                                     (lO) Nonflammable insulation In a basement; 

       h,      Walk·in Frt'llzers; 

                                                                                                     (II) Pumps and lanks used in solar energy s)'Stcms: 

       i. 	 Fumaces:
                                                                                                     (12) 	 Stairways nnd staircases attached to the building. not 

       j. 	 Light fixtures;
                                                                                                            separated from it by el,vnted walkwuys;
       k. 	 Outdoor anlcnnos nnd aerinls attached to buildings;
                                                                                                     (\3) Sump pumps;
       I. 	 f'ermanontly instalkd cupboards, bookclIses. paneling. ami
            wallpaper;                                                                               (14) 	 Water ,often",; and the ~hemiculs in them, water I'hers. and
                                                                                                            rQUeel' installed as an integml pal' orth~ plumbing system;
       m. 	 Pumps nnd machinel), for operating pumps;
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              (IS) 	 Well waler tankS nnd putnp~;                                                 legally   r~1110ve   them.
              (16) 	 Required utility connections for any ltem in Ihis list; and
              (17) 	 Footings, foundations, posts, pilings, pie!'ll. or other                This coye,,\g~ does not incrCilSC the amount of insurance that oppli\.'S to
                     foundation walls and ,.mchorog~ systems required tu sllppon "           insured personat prop~"y.
                     building.
       b. 	   CI~n·up.                                                                8. 	   If you are a condorolnlum \lnll owner. you 1I'~y apply up to 10 percent
                                                                                             of the Coverage B limit to cover loss to io!~rior:
B. 	 COVERAGE B· PERSONAL PROPERTY                                                           a.    Willis; 

I. 	 If you have purchased pl:t"Sonnl propcny coyemge. we insure. subjoct to                 1>. Floors; and 

     802., J., and 4. b¢low. ngninst direct physlcllll.m by or (rom flood to                 c. 	 Ceilings:
     pc1"S\lnal property inside a full)' enclosed insured building:
     11. 	 Owned solely by ),00. or in the case of a condominIum, owned                      lhat are not covered under a policy issued to the condominIum
           JIOlely by the condominium assadatloll and used exclusively in                    anoelatioll insuring the cOlldonullluro buildIng.
           the conduct of the bwiness affairs of the condominium
           association; or                                                                   This coverag~ does oot increase            lh~   amount of insurance lhm applies to
     b. 	 Owned in common by the unit owners 01' the condominium                             ins\lfed personal propeny.
           auoc::latlon.
                                                                                      9. 	   If you arc a tenam. personal property must be inside the fully endosed
We also insure such personal propelly for 45 days while stored at a tempol1lry               building.
location, as set forth in IIl.C.Z.b. Property Removed to Safety.
                                                                                      C, 	 COVERACE C • OTH£R COVERAGES
2. 	   When this policy covers personal propc,ty, covel1lgc will be eitner for        I. 	 DebrIs RemQval
       household persolUll property or other than hOllsenold personnl PI'Opclty.           a. 	 We will pay the expense to I'emove non-owned debris on or in
       white within tbe insured building. bllt not both.                                        insured property and owned debris anywhere.
       A. 	 II' this policy cov"," household pel>ooul property, it will insure             b. 	 If you or a memlm of your household pe,form the removal wor\:,
            household personal p'1)pe.1y usual to a living quarters. "hat:                      the value of your work will b<" based on the Federal minimum
            (I) 	 Belongs 10 yOll, or a member 'of your household, or at your                   wage.
            opt,on: 
                                                                      c. 	 Tllis coverage duo:> not increase the Covemge A or Covemge B
                   '(a) Yourdomeatic worker, 
                                                  lirnit of Ilability.
                    (b) 	 Yourguest;or
            (2) 	 You ma)' be legally liable rol'.                                    l, 	 Los! Avoidance Measures
       b. 	 If this polic), eovel~ other than household personal propetty. it will         a. 	 Sandbags, SuppHes. and LabQr
            insure your:                                                                        (I) 	 We will poy up to 51.000 for the COSts you incur to prot\.'!:t
            (I) 	 FIIl11itur.: mnd fixtures;                                                          the insured building from n flood or imminenl dang.er of
            (l) 	 Mnchinery and equipment;                                                            Ilood, fo,' U1C following:
            (3) 	 Stock; and                                                                          (0) 	 y 0\11' n!llsonnbl~ expenses to bu)':
            (4) 	 Other personal property owned b), you and used in youI'                                    (I)     Sandbags. including SBnd to fill them;
                    business. subject to tv, ProperlY Not Covered.                                           (Ii)    Fill for lemporary levees;
                                                                                                             (111) Pumps; llnd
3, 	   Coverage for personal property includes the following propclty. subject                               (i y) Plastic sheeting and lumber used 10 connection
       to B.t,a, and S.I,b. above, which is covered underCovcl'lIge a only:                                          with these items; and
       a. 	 Air conditioning units installed ill the I>ul\d~ng·.                                      (b) 	 The value of work, al the fedcl1ll minimum wagt. thaI
       b. Carpel. O()t pellnftncntly installed, over unfinished flooring;                                    you perfonn.
       ~.   Carpets over tinished flooring;                                                     (2) 	 This covmge for Sandbags, Supplies, and Labor only
       d. 	 Clothes wnsbel's ana dryers;                                                              applies if damnge 10 insured property by ot from flood is
       e. 	 "Cook·out" grillsi                                                                        imminent and the threat of 110nd damage is apparent enough
       f. 	 Food freezers, othel' limn walk·in. and food in any freezCl~                              to I~nd a person of common prudence to anticipate Oood
       g. 	 Ouldoor equipment ond nrmilure stored inside the insured                                  damage. One of II Ie following must also occur:
            building',                                                                                (a) 	 A general and t~lnporary condition of flooding in the
       h. 	 Ovens ond the like; and                                                                          area near the described loeRtion Innst occur, even irthe
       I. 	 POl1able micl'Owave ovens and portable dishwashers.                                              flood does not l'each lhe insured building; or
                                                                                                      (ill 	 A legally authorized official must issue on evacuation
4. 	   Coycrage for items ofpropcn)' in a building enclosure below the lowest                                order or other civil order for the communit), in which
       eleYllled floor of an elevated post. FIRM bllildlng located in Zones A I·                             the insured building is locatoo calling lor tn~aSlll'es to
       A30, AE. AH, AR, ARIA. ARIAE. ARlAH, ARlAI·A30, VI·V30, or                                            pl'eserve life nnd propen)' from lhe peril or nood.
       VE, or in II basement, I'egal'dlcs$ or the zooe, is limitoo to the following
       iten's. if installed in their functioning locations ond, if necessRIY for                  This coverage does           r.O[   incr..'1lse the Coyefllge A or CoYcn'ge B
       operation. connected to a power source:                                                    limit ofliability.
       B. 	   Air conditioning units. portable or window type;
       b. 	 Clolnes waShers and dryers; and                                                  b, 	 Property Removed to Safet)'
       c. 	 Food frc:ezefll, other than walk-in, nod food in nny !'NCZCl'.                        (I) 	 We will plI)' up to $1,000 for the reasQlUlvle expenses YOll
                                                                                                        incur to move io;;ured property to a place other lhan the
5. 	 Special Limit•. We wHi pay no more than $2.500 for an)' loss to one or                             described location thnt contains the property in order to
     more ()f Ihe following kinds ofpersonal propcl1y:                                                  Pl'Otect it from nQod or th~ imminent danger of flood.
     ll.   Anwork, photographs, colkctiblcs. or lnernmnbilia, including bu,
           not limited 10, porcelain or other figures. and spons card3;                                  Reasonoble expenses include the value of work. at the
     b. 	 Rare books or autographe<l items;                                                              F.:del'al minimum wage,lhat you perfonll.
     c. 	 Jew~lry. watches, precio\ls and semipreciou~ ~ton~s. or articles of
           gold, silyer. or platinum;                                                              (2) 	 If you move insured propc,ty to a ioeation olher than the
     II. 	 furs or nny article conmining fur which "'presents ils principal                              described locallon thm tontains the prupel'Y. in order to
           YRlue.                                                                                        Pl'Otect it fronl flood or th~ Immln.:nt iliInger of llood. we
                                                                                                         will cov~r such ~ropel'1y while at that location lor a period of
6. We will pa), onI)' tor the fUllCtional vallie of antiques.                                            45 conscc\,tive days from till: date you begin to move it Ihel'C.
                                                                                                         The personal prope,t)' thnt is moved must be placed in a fully
7. 	   If YOO are a tenant, yOY may apply up 10 10 percen' of the CovelUlie J)                           enclosed hulJdin~ or otherwisu r.,.~sonably p''OI<'Ctecl from II,.
       limit to improvements:                                                                            elemenLl.
       I. 	 Made 0 part of the building you occupy; lIfld
       b. 	 You ucquil'cd Or made at your c.'p~n5~. even though you cannot
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         Any pml'~tty r~moved. including a move.. ble home descri~ in                                    <;ompliance activities in 8, C. X, 01' D lones which ar~ bdng
         II.H.6.h. and c., mlt,l be placed .. lxw~ ground kyel or oUlside of                             changed 10 7.Dn~s with bose flood elevations, This also
         Ihe specinl flood hazard aren.                                                                  incllldes cOIDjlli;m(.'e activities in lones where bas, !luod
                                                                                                         devUlions flr.: being increased. and a fiood-dmnnge<l
         This covel'llge docs no! increase Ihe Coverage" or Covemgc B                                    Sll\lctur~ 1II11st ~omply wilh the higher adl'isolY base flood
         limilof!iabtlity,                                                                               elevation,) Incl'eas.:d Cost of Compliance covemge does nOI
                                                                                                         upply to situations in B, C, X, or D tones where the
 Pollution Damage                                                                                        c~ml1lUl\ily llas derived its own elevations Rnd is enrol1:ing
 WIC will pay rol' damage caused by pollutantlto cov\'red property if the                                eleyation or noodproo~ng requirements ror flood-dmnage.J
 discharge. seepage, migration, relense, or escape or the lIolluhnts is                                  stl\lctul'l~S to elevations derived solely by the comml1!1ity,
 caused by or results rrom flood, The most we will pay under thi~                                 (3) 	 Elevation or Iloodprooling above the base flood elevation to
 covcrn&e is SIO,OOQ, This coverage does nnt incre~se the Coverage A or                                  meet State or local "freeb(\nrd" l'cquirementll, I.e" Ihat a
 Coverug<! B limits of liability, Any payment under this provisioll when                                 structme must be elevoted above the base flood elevation.
 combined with all other payments for the same loss cannot exceed th­                      c, 	   Under the minimum NFlP critclia at 44 eFR 603 (b)(41. Slales
 replacement eost or actuRI cash vahu. as oppropliate. or the covered                             and communities must ~quire Ihe elevation or 1100dproofing of
 property, This coverage does not Include Ihe testing fo!' or the                                 struct\ll'eS in unnumbered A zones to the base flood elevation
 ll1onitoring of pollutants unles$ required by law Or ordinance,                                  where elevation data is obtained from a Federal, State, or oth\'!'
                                                                                                  SOUl'Ce. Sllch compliance activities are olso ~ligibk for Covernge
 COVERAGE 0 • INCREASED COST OF COillPLlANCE                                                      0,
 General                                                                                   d. 	 This coveruge will also pay for the incremental cOSI, after
 This policy pays you to comply with n Slate or local floodplain                                demolition or relocation, or elevating or floodprooflng a slIucrure
 management law 01' ol,{\inance affecting repair or reeOI1$\lllction of R                       during il! tebllildillg at th~ same or anpther sitt to meet Stilte or
 Structure suffering flo()d damage, Compliance activities eligible for
 payment are: elevation, 1100dproofing, relocation, or demolition (or ~ny                       local floodplain management lows or ordinance.~, 5ubjel:I to
 combination of these activities) of your structure, Eligible floodproofing                     Exclusion D.S.g, beillw,
 activities are limited to:                                                                e. 	 TIlis covcmge will also pay to bring a flood-<lamaged structure into
 II,   Nonresidenlial SII\Jctures,                                                              compliance with State or local floodplain lnanagement Inws or
 b. 	 Residential stnlCt\ll'eS wilh bAsements Ihat satisfy the Federnl                          ordinances evon if the structure had l'Ci::eived a variance before the
       Emel'gency Manngement Agency's (FEMA'5) standards published                              pres:nt loss frOL1'\ the applicable floodplain Iltilnagemejll
       in Ihe Code of Federnl Regulations [44 CFR 60,6 (b) or (c)].                             requ Irements,

 Limit of Llultlllt.l'
 We will pay you til? to $30,000 tinder this Covclllge 0 • Increased Cost           4, 	   Coudllions
 of Compliance, which only applies to poliCies with. building                              n. 	 When it $tructurc covered lInde!' COvenlie A • Buildin!! Propetty
 covl:rage (Coverage A).                                                                        sllst.'Iins a loss ca~lscd by a Oood. our puyment for tho 1055 unoer this
 Ou r payment of claims under Coverage 0 is in addition to the amount                           Covet':l~e D will be for Ihe increased cost to eleva,te, floodproor,
 of coveruge which you selected on the application and which nppea1'S                           relocate. or demolish (or any combination of these octivities) eaused
 on the Detlnratlolls Puge. But the maximum you Can collect under this                          by ~he entorcement of cllrrenl Stale or local Ooodplain managemcnt
 policy for both Coverage A • Building Propelly and Covel'8ge D •                               ordlllance. or luws, Our payment for eligible d(l'llolitiol1 activith:s
 Increased Cost of Compliance canoot exceed the 111a~imu\1l pennitted                           will be lor the cost to dCI110115h and clear the sIle of the bUifding
 uncler the Aet. We do nol charge a separllte deductible far a cluim under                      debris or a portion thel't:Or cnu.~ed by tite enforcement of c~tn'ent Stale
 Coverage D.                                                                                    or locDI floodpluin management ordinances or laws, Eligible
                                                                                                                        or
                                                                                                activities for tm.- cost clearing the sit~ will include these necessary
 Eligibility                                                                                    to discontinue utility service to tm.- site and ensure pl'op~r
 n. 	 A struclure covered under Coverage A - Building Propel1y                                  abandonment ofon-site utilities,
      sustaining a loss CllUSN by D flood as deli ned by Ihis IXlliey must:                b. 	 When the bllllding ii rep.1il'ed or rebuilt, it IllUst be intended fOI' tile
      (1) 	 Be a "n:pctitive loss structure," A ~petitive 100s structure is                     SIlme occupancy as the present building unless othClWise requited by
             one that meets the following condilions:                                           current floodplain management ordinances or laws,
             (a) 	 The Slructllre is covered by a contract of flood
                   insurance issued under the NFIP.                                 S. 	 Exclusions
             (b) 	 The stmclure has SUffered flood dnlll~ge on two                         Under this Cevemge D • Increased Cost of Compliance we will not pay
                   occasions dUling n IO'year period which ends on the                     for:
                   date of the second loss,                                                B. 	 The cost to cQmply with any Ooodplnin n'lllnngement law or
             (~) 	 The cost to repulr Ihe flood damage. on flveluge.                             ortlillilnce in C1l!l1munities participating in dle Emergency Program.
                   equaled or <,~ceeded 25 percent of the market value of                  b. 	 TIle cost IISsociated wilh enforcement of nny ordinance or Jaw that
                                                                                                 l'eq~lires uny insured 01' othel~ to test for, monitor, cle-an up. ",move,
                   Ine stl'Ucmre at the lime of each flood loss,
             (d) 	 In addition to the cun'C'nt claim. the NFlI' musl have                        ccntoio, t!'eat, deto~iry or !lCUtlllli7.e. 01' in any way respond to. or
                   paid the pl'C'vious qualifying claim, and the Stale or                        assess the etTects of pollutants,
                   cOl11munity must have n cumulative, substantial damage                  c. 	 The loss in value to any insurcd building or olherstl\!Cture due to the
                   provision or repetitive toss provision (n its tloodplain                      requirements of any ordinllnce or !pw.
                   mnnagement law or ordinance being enforced against                      d, 	 TIle loss in residunl value of the unilllrnaged poltion of a building
                   the structure; 01'                                                            demolished !IS 0 consequence of enforcement of any Slate or local
       (2 ) B~ 0 muc!ure that hus had nDod dall1age in which the cost to                         floodplain management law or ordinance,
             repair equals or exceeds S() f>e.cent of the Illlll'ket value of the          e. 	 Any IncrCllSed Cost of Compliance Linder this Coyclllge D;
             structure at the time of the nootl, The State or community                          (I) 	 Until the building is elevnted. ll00dproofed, demolished, or
             must have a substantial damage provision in its !1oodplnin                                  lelocated on the same or to another [liemises; find
             management law cr ordinance being enforced against the                              (2) 	 Unless the building is elevated, flood·proofed, demolished, or
               stnlcllll'~,
                                                                                                         telocated as soon (IS reasonably possible after the loss. nat to
  b. 	   This Coverug~ 0 pays you to comply with State 01' I~al Ooodplain                                exceed 2 yeam.
         managemenl laws or ordinances that meet the minimtlm standards                    f. 	 Any code upgrndu I'\,'quiremcnts, e, g" plumbing Of elechlCll1 willng.
         of the Nationnl Flood Insurance Progrom found in the Code of                            not spccilically rclatc'll to the State 01' local t100dplain mamg~mcnt
         Federal Regulnlions at 44 CFR 60,3, We pay for complinnce                               law or ordinnnce,
         activities thntllllceed Ihose slandnrds under these cnnditions:                   Il' 	 Any compliance llctivities needed to bring addilions or
         (I) 	 3.n.(I) abow,                                                                     Improvements Illude ufter the loss occlln'ed into compliance with
         (Z) 	 Elevatioll 01' noodproonng in any !'isk zone to preliminary or
                                                                                                 Slate or local floodplain mflMg,:menL lows or ordinan<:e:I,
               advisory base floQ~ elevations ployjd~'d by I'EMA which thc                 h, 	 Loss due tl) any ordm'lnce or law thai you were required to comply
               Stotc llI' I"cnl gClVe:nm"l1t has ndople.J nnd is enforcing for                   with before the ,ulTlmt los5,
               flood,dalllaged s\mcmres ill sil~h nn:as, (This int:ludes
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       i. 	     AllY [I:building acti,ity to s(;1l\dards thlll do nl'! mc'<.~ the NFIP',    16, 	   P~rs"nal PI'(lperly owned by or in the ~"re, custody, or control or a unlr
                minilnUln requil'\!m~nl&' This includes Gny situation wh~r. tlw                     o\Vn~I·.except for propel1y or the t)'Pc nnd under the l·ircuntstnnces s<t
                insllred Ims n:cdved from the Stn!e or cOllunl",iry n vnriunce in                   'olth under C(1\'~mg~ B - P~I~onal PI'(lpc.ty;
                connc'<:l;,)n with Ihe cun-cnl flood loss 10 rebuild the pmpcny 10 an
                ~leW\tion below the bale flood elevmion.                                    17. 	 A residentinl condominium building located in a Rogul:!r Program
       j.       Incrensed Cost of Compli~nce ror a gnrngc 01' carport.                            cOlllnumity.
       !\.      Any stmcture insured undcran NFlI' GtllUP flood lnsul'Ilnce Policy.
       I. 	     Assessnrents m~de by a condominium assoclntlon on Indlvldu!11                                                   \'. EXCLUSIONS
                condominium unit owners 10 pay incl'enscd costs of rcp.liring
                cOlmnonly Qwned building. atie1' a Ilood in complilmce with Stnte           A, 	    W~ only provide coverage I'or dlreet physical 105$ by or frolll flood.
                or Iceal fIoodpluin m~llll$ementordinances (II' laws.                               which means Ihilt we dQ nl)\ pay YOII for:
                                                                                            I. 	    Loss or revenue or profits;
6.     Other Providonf 
                                                                    2. 	    Loss of acceSS to the insured propcI1y or lIeserll/ed toclition:
All nth,,,· condItions and ptllvisions oflhis poll C)' apply, 
                             3. 	    Loss of use of thdnsured pr~flCrty or described location:
                                                                                            4. 	    Loss from intemlption of business Of produotlon;
                          IV. PROPERTY NOT COVERED                                          5, 	    Any additional living expenses incun'ed while the insured building i3
                                                                                                    being repnired or is unable to be occupied For Dny ,.".son;
w~ do       not cover allY of the following propelty:                                       6. 	    The cost or complying with uny ordil'.ancc OJ' I~\V reqlliring or regulating
I. 	   P~rsonal    propel1y not inside the fully enclosed building;                                 the cOllStl'UCti~n. demolilion. remodeling, renovation, or repair of
                                                                                                    propclty. incfudi~g removal of any resulting debris, This !!:\clusion does
2. 	   A building, and p~I'So"al properly in it, located entirely in. on, or Qver                   not apply to nllY eligible activities thnt we describe in Covernge D •
       water or ~eawDrd of mean high tide.. if it IV,ns constructtd or substumiuliy                 Increased Cost of Compliance; Qf
       improved DIi~!' September 30, 1982;                                                  7. 	    Any other economic loss.

3. 	   Open stnlctures. including a bulldl!l~ used as a boathouse 01' nny                   B. 	 We ·do not insure a loss directly or indir~ctly caused by a flood thot is
       structure Q, building into whi~h boats Me nODtcd, Dnd p.!1'Sonol property                 olready in progress at the date and time:
       localed in. on, or over wllter;                                                      I,   The polk:-' tcnn begins; Or      •
                                                                                            2. 	 Coverag~ is added at your request.
4, 	   Recreational vehicles ~ther than travel Imilers d~scribed in If.B.o.c••
       whether afli,\ed to n pennanenl roundntion Of on wheels;                             C, 	 We do not insure for loss to property cnu~ed directly by ealth movem(nl
                                                                                                 even if the enrth movemenl is caused by flood, Some exampks of eal1h
5. 	   Self,plOpeiled vehicles or machines, including theit· parts and                           movement tl!at we do not cover nrc;
       equipment. However, \Ve do cover self-propelled vehicles or machines                 t. 	 Ennhquilke;
       11<)t licensed fur lIse on public roads thnt are; •                                  1. 	 Landslide;
       R,      Used mainly to service the described locution, or                            3. 	 land subsidence;
       b. 	 Designed and used to assist handicapped pcrst)ns.                               4. 	 SinkholO$;
                                                                                            5. 	 Destahilization or movement of land timt mulls from accumulation of
       while the vehicit'S or machines are inside a building at the described                    woter in subsulface I~nd ar(as; or
       location:                            •                                               6. 	 Gradual erosion,

6. 	   Land. Innd values. lawl15. Irees. shrubs. plants. growing croP$.               01'   We do. howevcl', pay for losses from Oludllo\V and land subsidence as a result
       animals;                                                                             of ..,rosion thai are specifically coveted under our definition of flood        (s~e
                                                                                            1I,i\.I.~.     and It.A.2.).
7. 	   Accounts. bills. coins. eUI'I'ency. deeds. evidences of debt. medals,
       money. scrip, stored volue cards. postage stamps. sccmities, bullion.                D. 	    W. do not insure for dirL!Ct physical los! ~aused directly 01' indirectly by:
       monuscnp!S. 01' other valuable papers;                                               t.      The pressure or weight of ice; 

                                                                                            2,      Freezing Or thawing; 

8. 	   Undel'grollnd stmctu,'1!'ll und equipment. including       well~.   septic tanks.    3,      Rain, .now, Sloe<:l, hail. 01' wnter sprny; 

       and septic systems;                                                                  4. 	    Water. moisture, mildew. or mold damage th.lt r~sults primarily froll!
                                                                                                    any condition:
9. 	   Those flOI1ions of walks. walkways. decks. driveways. patios. and other                      ••    S~lbst.ntially confino:d to the insurud hulldlng; or
       surfaces. all whether Jlrotected by a roof 01' not, located outside the                      b. 	 That is within your cooll'Ol including. but not limited to:
       perimeter. exterior walls of the insured building:                                                 (I) 	 Design. structural, or mechanical defects;
                                                                                                          (l) 	 Failure. stoppage. or breakage or water Of sewer lines. drains.
10. 	 Concainers, including related equipment. such as. but not limited to. tonks                               pumps. fix1ures, or equipment; QI'
      containing gas.:s or Iiguias;                                                                       (3) 	 F.ilmc 10 inspect and maintain the property nftl!!· n flood
                                                                                                                rcct-des;
11. 	 Buildings or units and all their contents if mo", !lwo 49 percent of the
      actUAl c8s11 value of the building or ullit is below gwuml. un~es5 the                5. 	    WaleI' or wnterborne material that:
      lowest level is at or above the b"5C Oood elevation and is below ground                       a. 	 Backs up through sewers or drains;
      by ..""son of eal~h having been used as insulation tnatdal in conjunction                     b. 	 Discharges or overflows from a sump. "Sump pump. or related
      with encL'!!y efficient b~lilding techl1iques;                                                         eqllipll1ent; or
                                                                                                    c. 	     Seeps or leaks on or through insun:d property;
 12. 	 Fences. reloil1ing wRlls. seawalls, bulkheads, Wharves,           piel~. bridg~s.
       and docks;                                                                                   unless there is a flood in the orell und the flood is the proximate cause of
                                                                                                    tile sewer or dtuin backup. SLimp pump discharge or ovelilow. or the
 13. 	 Ai rcl1l ft or WlllCrcmll:. or th~ir fumishil1gs and equipment:                              seepage of wakl';

 14. 	 Hot tubs and spas that are nOI billhroom lixtures. and swimming pools,               6. 	    TIle pressure or \Veight of w"l~r unless there is a flood in the urea and
       and their equipment such as, but not limited to. heaters. tilters, pUlnl>s.                  tbe flood Is the proximate calise of the domage from the pr<.'Ssure or
       Dnd pipes, wherever located;                                                                 ,weight or water;

 15. 	 Propel\y not eligible for /lood inslIl'Iloce pursuan: to the provisions of the       7. 	    Power, he~tirrg. or co<>ling failure unless Ihe failure re~\llh fmln direct
       Coastal Banier Resnurc~s Act nllu the Coastul Barrier IlIlpl'OYrmctlt Act                    ph>'slcnllon by 01' from flood to power, heating. Qf cooling t"luipmcOl
       of 1991) and amendments tu those acts;                                                       siluat~d on thlt des~rjhed !ocallon,


                                                                                            8. 	 TIleft. !ire, t'xplosinn. wind. ur windslol1n;
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9.     Anything ),"U Of your "gent do or     conspir~   to do to CBUit loss by nood 	            than the amount of iIlS\lI1m~e that you are entitlcd to for losl. damB!led,
       dcliberntely; or                                                                          01' destroyed pr'opcl1y insured under this policy subject to the following;
                                                                                                 n, We will pay ooly the proportion of the loss that the tlmount of
10. 	 Alteration ofille insured property tllnt signitlcnnlly incn:ases the risk of                      insur.mce thm applies under lilis paller boar,; 10 IIle Iota Iamount or
      flooding. 	                                                                                       insurunce covering the loss. unless C.I,b. or c. hrune(liM~ly below
                                                                                                        npplies.
E. 	 We do not insure for loss to nny building Of personal propetty located                      b. If the athet' polic)' has a provision sta.ting thilt it is e~cess
     on land lel\sed from the federnl Government. arising from or inoid..,!!! to                        insurance. this pollc)' will be plimnry,
     the flooding of the land by the F.:dernl Oovenll1lent. where the lense                      c. This polity will be primary (but subject to its own deductible) up
     expt'essly holds the Federnl Government hannless \lnder flood insurance                            to the deductible in the other flood policy (except another policy as
     issued under an)' Fedeml Government progrnm.                                                       described in C.Lb. above), When the other deductible amount is
                                                                                                        reacht:d, this policy will plltticipnte in the same proportion that the
                                VI. 	 DEDUCTIBLES                                                       ~mo\lnt of insul11nce under this policy bears to the lotal amou~t of
                                                                                                        both policics, fanhe n:lOaindet'ofthe loss,
A. 	 When a loss is eovered under this pollc)'. we will pay only that PUtt of
     the loss that e'ceeds the applicable deductible amount. subject to the               2.     If this policy covers a co"dumlnlum auoclarlon and there is a flood
     limit of liability thilt applies, The deductible amount is shown 011 the                    insurance po lit)" in the name of a unit owner that covers the same loss
     Deela ratloni Page.                                                                         as this policy. th~n this polley wHl be prim31y.

However. wh~n a build Ing under constmction. alterollon, or repair does not               D. Amendments, Waivers, Assignment
have at !~ast two rigid exterior walls and a fully secured roof at th~ time of            This policy CBnllot be changed nor can any of its pl'Ovisions be waived
loss. your deduelible amount wit! be two times the deductible that would                  without the express written consent of the !'ederol Insumnce Administrntor.
otherwise apply to a completed building.                                                  No action thilt we take under the tenns ofthis policy can constitute a waiver
                                                                                          of any of our rights. You may assign this poltey in writi ng when you Il1lnsfer
B. 	 In each loss from flood, separate deductibles apply to the buUdlll& and              title of your property to someone else, except under these conditions:
     personal propelty insun:d by this policy.
                                                                                          I. 	   When this policy covers only personal property; or
C. 	 No deductible applies to:
                                                                                          2.     When 111is policy cqvcn; a structure during the course of COJ1sltllction.
L      lil.e.:. Loss Avoidance Measures; or
                                                                                          E. 	 CancellQUol1 of PG!lcy by YOli
2. 	   111.0. Irn::reased Cost of Compliance.                                             I. ,You may cancel this poll,,), in accordance with thc applicable I,tles nnd
                                                                                               regulations of the NF'IP.
                          VII. GENERAL CONDITJONS
                                                                                          1. 	   If yuu cancel tilis policy, you Illay be entitled to a full or pOltinl refund
A.     rairs and Sm                                                                              of p~miul'tl also under the applicable, mles and I'l:gulations of the NFIP.
In ease of loss to an art,icle that is pot1 of a pail' 01' set. ~e wtllliave the option
of payiog you:                                                                            r. Nonr~newal of tbe hUe), by Us
I. 	 An Bmount equal to the cost of replacing the lost, damaged. or destroyed             Your policy will not be renewed:
      ~rticle, les~ depreciation; 01'                                                     I.   If the community where your covered propclty is locnled SlOpS
2, 	 An amount that repn:sents the fair proportion of the total value of the                   pa{1iclpating in the NFl P; or
      pair or set that tile lost, damnged. or destroyed 011iclo benrs to the pair or
      set.                                                                                2.     If your building has been declared inelig.ihle uuder Sooction 1316 of the
B. Concealment or Frnud and Policy Voidance 	                                                    Act
I. 	 With respect to all insureds nnder th,s policy. Ihis policy:
      1I.    Is void;                                                                     G.     Reduction aud Reformation ofCo.cruge
      b, Has no legol force or effect;                                                    1.     If lhe premium we received nom you was not enough to buy the kind
      c. 	 Cannot be renewed; and                                                                and amount of coverage you requested. we will provide only the amou"t
      d. 	 Cannot be replnced by a new NFJP p()li~y;                                             of coverage that can be purchased for the prelniutn payrllen\ we
                                                                                                 received.
       if. before or after a loss. you or nny mher inslired or ),our agent hove al        2.     The policy can be ret'onned to incrense the alllount of covernge resulting
       anytime:                                                                                  froll! the reduction dcset1bed in G.1. above \0 the amount you requested
              (I) 	 Intentionally eoncenled or misrepresented nny moterial fact                  as follows;
                     or c'fcumstar\¢c~                                                           •. Discovery of lnsunicient premium or incomplete rnting
             (1) 	 Engaged in fraudulent conduct; or                                                    infmmalion before 8 loss,
             (3) 	 Made false stQtell1~nts;                                                             (I) If we discovcl' before you h.ve n nood loss thnt you,
                                                                                                              premium payment was not enough to buy the requl!Sted
             relaline to this polic), or any other NflP insul'llnce.                                          amount of covernge. we will send yc;u and any mortgagee OT
                                                                                                              trustee known to us a bill for the required additional premium
2. 	   This polic}' will be void as of the datc the wrongful nets demibed in                                  for the cutTeni polic)' t~.,n (or that portion of the ClilTem
       B.1. above were cOlllmilled,                                                                           policy tenn following ony endorsement changing the amount
                                                                                                              of coverage), If you or the mortgagee or trust~ pay the
3. 	   Filles, civil penalties. and imprisonment under applicable Federal laws                                additional premium within 30 days from the dat.: of our bill.       ,.
       Illny nlso apply to the DCts or fraud or conceahnent desclibed above.                                  we w ill reform the polle}' to incrl!llse the amount or covcrnge
                                                                                                              to the origillDlIy requested amount eff~ctive to the beginning
4. 	   This policy is elso void for reasons other than fralld. misreprcsentation.                             of the CUlTent policy lenn (or subsequent dete of any
       01' wrongful act., This polity is void from its inception nnd has no legal                             endorsement cllanging the amount ofcoverage).
       I(wee tlnd~r the following conditions:                                                           (2) If we deletmine before you have a flood loss thot the mling
       a. 	 If the property is loc~ted in ~ tOl1llllunity th~t was not participating                          infonMtion we ha ve i~ incomplde and prevents us from
             in the NFlP on Ihe palicy's inc~ption date and did not join or                                   calculating the additional premium, we will ask you to send
             reenter the program during th~ pellc}' tenn und before the loss                                  rhe required inlo'1nation, You must submit the infonnalion
             occurred; or                                                                                     within 60 days of 0\11' r~q ..est. Once 1Vl! detenlline the
       b, 	 Ir the property list~d 011 the application i. rlthet'wise not eligible                            amount of .dditiolUll premium forthe ~urrent polley tenn. we
             for coverngc under dIe NF'IP.                                                                    will follow the procedure in G.2.a.(I) above.
                                                                                                        (3) 	 ff we du not r.-eeive the additions! prelniulll (or .ddit;unnl
C. 	 Oil,er Insurance                                                                                         information) by the dote il is due. Ihe amount of cove'''ge can
1. 	 If a IllS, covered by this PQJicy is also covcrlld by other insuranee that                               only be incrensed by endorsement subject to any appropriate
     indu(l¢s flood coy~mlle not issued und~r th~ ,\ct, w~ will nut p~y 1ll0"~                                wa iring pc!iod,
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        b, 	  Discovel)' of insufticicnt premium or incomplete tllting                         C. 	 YOUI' inl~I'csl (for ~x~l1Iple, "owner") Jnd the interest. if nny, of
              infon1tntion aftel' a loss.                                                           other; in tllc damaged property; 

             (I) 	 If we ~iscovC\' alicr you have a Oood 1055 th~t YOul' premium               d,   D~tails or any other insumnc. thnt may covtr the loss; 

                    payment wa~ not enough to buy the requested amount of                      c. 	 Changes in title or occupancy of the insured pmreI1y dU';J\g Ihe
                    COVer.lge, we will send you and allY mongngee or trustee                        t~ltll of the poUe)';
                    known to liS a bill for the I'equi red additional premium for the          f. 	 Specitications of d.tmaged building. and c1etait.d repair estimates;
                    CUITCnt and the plior policy tenns. If you or the 1ll0118"gce or           g. 	 Names of mOl1gage.:s or anyon~ else having a Ikn. charge, or
                    m.st.-e pay the additional premi"ll1 within 30 days from the                    cI"im against the insured property:
                    dote of our bill, we will refonn the polir); to increase the               h, 	 Details Sholll who occupiro any insured building at th~ time of
                    amollnt of coverage to the originally requested amount                          luss and for what purpose; and
                    effective to the beginning of the prior pollc)' tenn,                      I. 	 The inventoty of damaged propclty described in J.3. above.
             (2) 	 If IVe discover aner you have a flood loss that the 1'Oling
                    int'onnation we have is incomplete Dnd prevents us from             S, 	   In completing the proof of los~. you musl use YOUI' own judgmt:nt
                    calculating the additional premium, we will ask you to send                conceming the amount orIoss flJldjustify th.t amount.
                    the required infonnation. You must submit the infonnation
                    beforc yout' claim can be paid. Once we detennine the               6. 	   You l11ust cooperate with the adjuster        01'    reprcscntath'e in the
                    amount of additional premium fOI' tIle cUI1~nt and prior                   investigation of th. claim.
                    policy tenm, we wili follow the procedure in G,2.b.(I)
                    above.                                                              7. 	 The insurance adjtlster whom we hire to investigate your cloim may
             (3) 	 If we do not receive the nddilioOlil pt~lJ1iuJJ1 by the date it is        furnish you with a proof of loss fonn. and she or he may help you
                    due, your tlood insurance claim will be settled based on the             complete it. Howevcl" this is B mailer of counesy only, and you mLlst
                    reduced amnunt of coverage. The aJ1lount of coverage can                 still send us a proof of loss within 60 days aft~r the loss even if the
                    only be increased by cndorsement subject to any appropriate              adjllSter does not fumish the fonn or help you compkte it.
                    waiting period.
3, 	    However, if we find thai you or your agent intentionally did not tell us,       8, 	   w. have    not authorized the adjust.r to approv.   01'   disapprove claims or
        or fnlsitied, any impol1unt fact or circumstance or did anything                       to tell you whether we will approve you'r claim,
        fraudulent relating to thi~ insurance, the provisions of Condition B.
        COIlcenlment or Fraud and Policy Voidnnce apply.                                9. 	   At OUI' option, we may accept the adjust""s repol1 01' the loss instead of
                                                                                               your proof of loss. 11le adjuster's repon will include infonnation aboul
H. 	 Pollc)' Renewal                                                                           your lo~s and the damage~ you sust..ined. You must sign the adjuster's
I. 	 This policy will expire at 12:0 I n.m. on the last day of the policy tenn.                repon. At our option, we may require you to swear (0 the report.

2. 	    We Imlst receive the payment of the appropriate renewal premium                 K. Our Option! After a Loss
        within 30 days ot'lhe el(pirntion dale.                                         0plions we may, ill our sole discretion, exercise niter loss include the
                                                                                        Following:
3. 	    If we find, howevel', that we did not place YOUI' I'enewal notice into the      I. 	 At such reasonable times and places th~\ we may designnte, yotl must:
        U.S. Postal Service. or if we did mail it, we Illude a mistake, e.g" we              n,    Show us or our n:prcsenlative the damaged property;
        used an incorrect, incomplete, or illegible address. which delayed its               b, Submit to exnmin~tion under oath, while not in the presence of
        delivery to you before the due date for tlte renewal premium, then w~                      another insurt'll, and sign the same; ami
        will follow these procedures:                                                        c. 	 Pennit lIS to examine and make extr:lcts and copies of:
        n. 	 If you or your agent nolified us, not Inter than one year after the                   (I) 	 Any poliCies of property insurance insuring you against loss
              date on which the payment of the renewal premium was due, of                               and the deed establishing your ownership of the insured real
              nonreceipt of a renewal notice before the due date fOI' the renewal                        pnopel1y:
              premium, and we dctennine that the circuinstances in the                             (2) 	 Condominium association documents including the
              preceding paragmph apply. we will mail a second bill providing n                           Dt:clorotions ofth~ condominium, its Articles of Assoeiation
              revised due dllte, which will be 30 days aller the dote on which the                       01' Incol'pcJ'i!tion, Bylaws, and rules and regulations; and
              bill is mailed.                                                                      (3) 	 All books of accounts, bills, invoices and other vouchers, or
        b, 	 If we do not receive the premium requested in the second bill by                            cenified copies pertaining to the damaged propel1y if the
              the revised due date, then we will not renew the policy. III thai                          originals are lost.
              case, the policy will remain an expired policy as of the e.'piration
              date shown on the Declaration, Page.                                      2, 	   We In.y reque~t. in wliting, that you flllnish us with a cOJllpl~te
                                                                                               inventoty ot'the lost, damaged, or destroyed propC11y, including:
4, 	    In connection witll the renewal of this POlif)', wc lIlay ask you duJing.              n,   Quantities nnd costs;
        the policy tenll to recertify, on a Recel1ification Questionn"ire thot we              b. 	 Actual eo,h values;
        will provide to you, the J1Iting information used to rate your most recent             c. 	 Amounts of loss claim.'d;
        application fDI' or renewal of insurance.                                              d. 	 Any wrilten plans and specification. for repuir of the d.m.~ed
                                                                                                    property thut you can reason"bly make available to us; "nd
I, 	    Candillons Suspending or Rest~ietll1g Insurance                                        e. 	 Evidence that pdor flood damage has b~en repaired.
        We are not liable for loss tim! occurs while there is a hazard that is
        increased by nny means within your control or knowledge.                        3. 	   If we give YOll Wlillen notice within 30 days atler we receive your
                                                                                               signed, swom proof of loss, we may:
J.     Requirements in Cnse of Loss 
                                                          a, 	 Repair, I~bllild. or replace Rny pal1 of the lost, damaged. or
 In case of a nood loss to insured property, you must: 
                                            destroyed property with materi.1 or propelty of like kind and
                                                                                                    quality 01' its Ihnctional equivalent; Bnd
 1. 	   Give prompt written nOlice to us:                                                      b, 	 Toke all or nny pm1 of the damaged propel1y at the value we agree
                                                                                                    upon 01' its appraised value.
 2. 	   As soon as re.sonubly possible, separate Ihe damaged ond undamaged
        propelty, putting it in the besl possible ord~r so that we may e~aJJ1ine it;    L,    No Bencfit to B.llee
                                                                                        No person or organization, other than you, having custody of cov~l'ed propeny
3, 	    Prepare"" illyentolY of damaged propelty showing thc qllantity,                 will ben~fit frOIll this ins\II';IJlce.
        descliption, actual cnsh VAlue. ~nd IUI1()tJOt or loss. Attach all bills,
        receipts, and relat~d doculllenls;                                              M. 	 Loss Pn)'mclIl
                                                                                        1. 	   We will adjust all losses with YOll. We will pay yml unless some othcr
4. 	    Within 60 days alier Ihe loss, send liS n prooF of loss, which is your                 pe~on   or entity is named in the pollc)' or is legnlly entilled to receive
        stalement or the amollnt YOll are claimine undel' th~ policy signed und                payment. Loss will be payable 60 days aftel' we receive YOllr proof of
        swom to by YOll, and which furnishes us wilh the following inroll1lDtion:              loss (or within 90 days oller the insllJ'Dnce adjuster files an adjusler's
        a. The dote nnd timd of los~; 
                                                        rcpolt signed and sworn to by YOll in liCl! of a proof of loss) and:
        b,    A briefexplDnalinn of how the lo:;s happ~ncli; 
                                 n. 	 W~ rench all agl~emcl1t with YOll:
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        b. 	 There is an entty of II final judgll\en~ or                              requiretncnt applies Lo any cl,lim that you may have under this policy and to
        c. 	 There is n filing of an appl1lis~1 award with us. as pl'Ovided in        any dispute that you mDy have nlising out of the hnndling of any claim under
             VII.P.                                                                   the polley.

2. 	    If we reject ~our proof of loss in whole or in pal1 you ma~:                  S. Subrogation
        ft.   Accept such denial of your claim;                                       Whenever we make n payment for a loss under this pollc)" we are subrogat~d
        b. 	 .E~ercise your rights under this polley; or                              to your right to recover for thaI loss ftum any olher person. That means Ihot
        c. 	 File an amended proal' of loss, as long os il is filed· within 60 days   your tight \0 reCOver for a loss that wns partly or totally cau~ed by someone
              of the date of the loss,                                                else is automatically transferred 10 us, to the elltenl that we have paid you for
                                                                                      the loss. We may require ~O\l to acknowledge this transfer in wliting. After
N. Abandonment 
                                                                      the loss, you may not give up our right to recover !his money or do anything
You may not abandon damaged or undamaged insul'ed propelty to us, 
                   thnt would prevent us from recovering it. If you ~ke any claitn against any
                                                                                      person who caused your loss and recover any money, you must pay us back
O. Salvage                                                                            flrstllefore you may keep any of that money.
We may penni! you to keep damaged insured pl'opelty Dft~r a loss, lind we
will reduce tile amount of the loss proceeds payable to you under the poli~y          T. 	 Continuous Lake Flol)dlng
by the value of the salvage.                                                          I. 	 If your Insured bUilding has been flooded by lisi!!g lake waters
                                                                                           CQnlinuously For 90 days or more ana it appears reasonably certain thaI a
p, Appraisal                                                                               contInuation of this flooding will result in a CQvered 10!lS to the insured
If you and we rail to agree on the actual tash value of the damaged property               building equal to or greater than the building polley limits plus the
so as to detennine the amount of foss, eithej' may demand an apprnisill of the             d~ductjble Ot' the maximum payable under the policy for anyone
loss. In thill event. you and. we will each choose a competent and ilnpaltial              buildIng loss. we will pay you the lesser of these two amounts without
apprniser within 20 da;,:s after receiving a writt~n request froln the Olhel', The         waiting for the furthet' damage 10 occur if you sign 8 relell$e agreeing:
two appraisers will cboose an umpire. If they cannot agree upon an umpil'e                 I. 	 To make no further claim under this policy;
within I ~ days. you ~r we 11'Ry !equcst ,hat [h~ choice be made .by a judge of a          b. 	 Not to seek renewal of this PQII~y;
court of recotd in the State where the insured property.is located, The                    e. 	 Not 10 apply for any flood insurance under the Act for property at
appraisers will sepanstely slate tne actual' cash value alld the amount of loss                  the descrIbed location; anel 

to each item. If the appraisers submit a Millen repolt of an agreement to us.              d, Not i.e seek a premium refund fOI' current or prior tenns.. 

the amount agreed upon will be the amonnt of loss. If they fail to agree, they
will submit their ditTerences to the umpire. A decision agreed to by lIny two              If the policy tenn ends before the insured building has been flooded
will set the amount of actual ellsh value and loss.                                        continuously for 90 days, the provisions of this paragraph T.·!. will
                                                                                           apply when the insured bulldlng suffers a covered loss before tile policy
Each parl~ will:                                                                           lenn ends.
I. 	 Pay its own apprnislOri and
                                                                                      2. 	 If your insured building is subject to CQntinuous luke flooding from a
2. 	    Benr the othe,' expense! of the Ilppl~isal and umpire equolly.                     closed basin lake, you may elect 10 file a claitn under either paraglllph T.l.
                                                                                           above or this paragroph T.2. (A "closed basin lake" is II natural lake from
Q.      Mortgage Clause 
                                                                  which w~ter leaVC$ primarily through evaporation and whose surface area
TIle word "mortgagee" includes l!\Jstee. 
                                                 now eKceeds or bas exceeded one square mile at anY time in the recorded
                                                                                           past, Most of the nation's closed basin lake.s are in the western half of the
Any loss payable under Coverage A - Building ProPe11y will be paid to nny                  United States, where annual eYllporation Clto;ced$ anllual precipitation and
mOl1gagee of wholti .we have actual notice as well as any other mOltgasce or               wh~re lake levels and surface areas are subjeCt to considernble fluctuation
loss payee <ktennined to e~ist at the time of loss, and you. as interests appear.          due to wide variations in the climate. These lakes may overtop their basins
If more than one mortgagee is named, the order of payment will be the same                 on rare CiCl;ll$ions,) Undcnhis p!l1Igl1lph T.2. we will pay yoorclailn as if
as the order of precedenc.c of the mortgages.                                              the building is a lolal loss even though it has not boon continuously
                                                                                           inundated for 90 days. $Ilbjectlo the following conditions:
If we deny your claim. that denia! will not apply to a valid cloim of the                  a. 	 Lake flood waters must damage or imminently t1wenten to damage
moitg~gee, irthe mortgagee:                                                                      your building. 

                                                                                           b,    Before approval of your claim. you must: 

I. 	 Notifies us of any change in the ownership or occupancy, or substantial                     (I) 	 Agree tq n claim payment that rcflccl,S youi· buying back the
     change in risk of which !he mOltgagee is aware;                                                   salvage on a negotiated basis: and .
                                                                                                 (2) 	 ONn! the conservation easement di.crilied in FEMA's "Policy
2. 	    Pays any pretl1ium due under this policy qn demand if you have                                 Guidance for Closed Basin Lakes," to be recol'ded in the omce
        neglC<:ted to pay the premium; and                                                             of the iocnll'CGorder of deeds, FEMA.. in consultation wieh the
                                                                                                       cOllllnunity in which the proPelty is loolted, will identl fy on a
;t 	 Submit! a signed, $WOl11 proof of loss within 60 days aner receiving                              ITlap an area or areas of speclal considemtion CASe) in which
        notice flum us of your failure to do so.                                                       there is a potential for f1O(1d damage from continuous lake
                                                                                                       flooding. FEMA will giv~ the CQ.llununity the agreed-upon map
All of the tCI1nS ortltis p~licy apply to the j~ortgag~.                                               showing the ASC, This easement will only apply to that portion
                                                                                                       of the ·property in the ASe. It will allow aertain agli"ulluroland
The l1lortgagee has the light to receive loss payment even if the mortgagee has                        recreational uses of the land, The only structures that It will
stalted foreclosure or similar action on the buHdi;lg.                                                 allow on any poltion of the propetty within the ASC are cellllin
                                                                                                       simple agricultural and recreational S!fuctures. If any of t:,ese
If we decide to cancel or not renew this policy. it will continue in effect for                        allowable structures are insurable buildings under the NFlP
the benefit of the mort8~g.e only for 30 days after we notify the mOl1gage~ of                         and are insured under the NFJP, they will not b.t eligible for
the cancellation 01' nonrenewnl.                                                                       !he benefits of this p8l11graph T.l, If a U.S, Army Corps of
                                                                                                       Enginem certifted flQod control project or otherwise certified
If we pay the mortgagee for any loss and dellY payment to you. we arc                                  flood control project later protects the proPel1y. FEMA wilt,
5ubl'Ogated to all the rights of the mOltgagee grunted under the mortgage on                           upon request, amend the ASC to remove areas protected by
the property. Subrogation will ilOl impair' Ille nghl of the mOltgagee to                              those projects. The restrictions of the easement will then no
recover the full nmoun! of the mortgagee's claim,                                                      longer apply to any portion of the propelty removed from the
                                                                                                       ASC;and                      .            , .
R,     Suit Against Us                                                                           (3) Comply with patugl'aphs T.I.Q. through T.l.eI. obove.
 YOII tIlay not sue us to ~ovcr money under this policy unl~ss you have                    c, 	 Wilhin 90 days of approval of )'our cl~ill1. you must move your
complied with aU the requirem~nts orthe policy, If yo" do SlIe, you mUSI stUlt
the suit within one year of the date of Ihe wlinen deninl of all or part of the
                                                                                                 b~ilding to a new location outSide Ill<: ASC. FEMA will give you       .n
                                                                                                 additional 30 days to move if yo II show that tile,"!! is sumcient rellSOI1
claim, and you must file the sui.! in the Uniled States Distnct CouI1 of the                     to extend the time,
district in which th~ Insured property was located at the tili,e of loss. This
       Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 17 of 23 PageID #: 53




        U. 	    Befort Ihe fin~l payment of your claim. you must acquire an
               elevation cc.tif,cate nnd n floodpluin development pe,mil fl'oll1 the         V. Loss SelllemclI( 

               local floodplain administlllt<lr for the new location of;'Qllr building,      We will pny the leost of the fl>t.~,winll umounts afiel' applicatiOIl Qr the 

        e. 	    Before till! approval of your claim. the community having                    deduclible: 

               jlllisdiclioll over your buUdlllg must:                                       I. 	 The applicable amount of insurance under tlti, poller:
               (I) 	 Adopt a permanent land use ordinance, 01' n tempor.lIY                  2. 	 The actual easf' value; or
                       moratorium for a period not to exce<d 6 11Ionlh! to be followed       3. 	 The amoun, it would cost to ,-.:pair or repillee the propelty with mlll.lial
                       immcdiately by Il pem1:lnent land use ordinanc~. that is                   of like kind and quolity within a reD.wnable tillle after the loss,
                       consistent with Ihe pl'Ovisions 5plleified for the easelllenL
                       required in parngrdpb T.2.b. above;                                                          VIII. LIBERALIZATION CLAUSE
                (2J 	 Agree to declllrc and repol1 any violations of this ordinance to
                       FEMA so that under Section 1316 of tlw National flood                 If we 1l1ilkc a change that broadens your coverage under this edition of our
                       InsUl'o'nce Act of 1968. RS omend<d. flood insul'1lnce 10 Ihe         polley. but does not require any additional premium, th~n tllat change will
                       building can be denied; nnd                                           automatically apply to youl' insuranGc as of tile dale we impl~ment the change.
                (3) 	 Agree 10 l1Ialntain os d~-I'estricted. for purposes compatible         provided thattllis implementation dale falls within 60 d~ys before, 01' during.
                       wi~h opell space or agricultural or recrea(ion~1 use only, allY       Ihe policy tenn staled on the Dc~lar3tlons Page,
                       all'lleted property the cOltununity acquires nn interest in. TIlese
                       de«! restrictions must be con$ist~nt with the provisions of                                   IX. WIl.H LAW COVERNS
                       pal'llgmph T.2.b. above, except that. even if a Cel1ified project
                       protects Ihe property, th~ land use restrictions continue to apply    TIlis polle)' and all disputes arising from the handling of any claim under the
                       ,fthe propcrty w1lS8cqulred under the Hamid Miligalion Grunt          polic)' an; governed exclusively by the flood Insurance regulations issued by
                       Pl1lg1'llm or the Flood Mitigation Assislance Progl~lln. If Q         FEMA. the Nntional Flood Insurance Act of 1968. as amended (42 U,S.C
                       1I0npl1lflt land tl\lSI organization receives the property as a       4001. et seq.). and fedeml common law.
                       donatiOl1, that organization must maintain the propetlyas deed­
                       restricted. consistent with the provisions of paragraph T.l,b.
                      above,                                                                 IN WfTNESS WHEREOF. we hove signed Ihis policy below and hereby enter
                                                                                                                                                                                    '..
        f. 	    Before the approval of your claim. the affected Slate must take all          inlo thi$ lnsumnce Agreement
               actioll set fOlth in FEMA's ·Pollcy Guidance for Closed Bssin
                Lakes."
        g. 	   You must hove NFl P flood insurance covernge continuously in                  Company Official Signature
               elfe<;t from Q date established by FEMA until you file 8 claim under
               1i1l~ paragraph T.2. If a subsequent owner buys NFIP insurance that
               goes lmo effect within 60 days of tile dateoftl'ansf"r of title, any g;;tp
                                                                                                         THIS ENDORSEI'rIENTCHANGES THE POLICY. 

               in covcrnge during that 60-<loy period will nOI be a violation of this
               continuo\ls covernge requirement For the purpose of honoring a                                       PLEASE READ CAREFULLY, 

               claim under this paragraph T.2,. we will not considel' 10 be ill effect
               My increased coverage thai became etl'ective afte\' the date
               established by FEMA, The exception to this is any increased                                  STANDARD FLOOD INSURANCE POLICY
               coverage in the amount suggested by your ins'Hoer as an inflation
               adjusuntnt,                                                                                         ENDORSEMENT NUMBER ONE

        h. 	 TII;s paragraph T.2. will be in effect for a community when the                 This endorsement repines Ihe provisions of VlI.B.4 and VII.H.l of Ibe
             FEMA Regional Director for the affected region provides to the                  I)",elling and General Prtlpcrty Forms. And also adds a new VlI.Ii.S. It
             community. in wlitinll, the following:                                          also repl8~es the provisions of VIII.SA lind VlII.H.2 of the Residential
             (I) 	 COllfinnation that the community nnd lite S~~te at'll in                  CCllldomlnlum Building Association Polic),. and adds a new VIII.H.S.
                   compliance willI the conditions in paragraphs T.2.•• and T.z.r.                                                                                                  I· ,
                   above; and                                                                   This tndornment applle. only In Monroe COli lit)' and the ViUpge of
             (2) 	 The dale by which YOll must have flood insul'anc", in effecl                                      Islamorada, florida.

U. 	 Duplicate Policies Not Allowed                                                          YII.B.4 nnd VIII,B.4, This policy is also void for rensons other than f'rnnd, 

I. 	    We will not insure your propel1Y under more than one NFIP policy.                    misrepresentation, or wrongful acl. Thi$ policy is void from its inception and 

                                                                                             has no legal force under the following conditions: 

        If we find that the duplication was not knowingly cl'l.'ated, we will give you       p,    If the property is located in a community that was not pEll1icipating in the 

        written notice, TIle notice will advise yOtl that you may choose one of                    NflP on the policy's inception date aad did not join 0\' re~ll(er the 

        sevellll options under the following procedures:                                          program during Ihe policy 'e1111 and before the toss occurred. 

        A. 	  If YOII choose 10 k~p in effect the policy with the ca,lier ~rfectivc          b, 	 If yuu have not submitted" COIllnlwUty inspeclion "'p",t. ref_ned to in "!-I.
              dale, you <nay also choose to add the covemgc limits of the later                   Policy Renewal" below. that was reqllired in a notice sent to you in
               poliey to the limits of the earlier polky. The change will become                  coujllnclion with the collllTlunity inspection procedure established under 44
              effective as of Ihe effective dale of the later polley.                             CfR 59,30,
        1I. 	 If you .hoose to ke~p in effect the policy wilh the lalel' effective
               dote, you may also choose to odd the cover"ge limits of the earlier           If the property listed on the application is not otherwise eligible for covernge
               pollc), 10 the Iimils ofthc laler pallc),. Thc chonge will be effective       under the Nf'IP.
              as of th~ effective date of tlte 1M'll' polley.
                                                                                             VI1.H.l Dnd VIlI,H,2.      We l\1\1st receive the payment of the appropriate
        In either case. you !nust puy the pm rata premhnn for the increased                  renewal premium and when applicable. the community insP\letion repal1 rererred
        coverage limits within 30 dtly~ of the wtilten notice. In no event will tile         to in paragraph H,5 below within 30 days of tlte expimtion date.
        resulting coverage limils e~ceed the pennissib!e limits of covernge under
        the Act or your insurable interest. whichever is less,                               VII,H.s and VIII.H.S. Your community has been npproved by the Federal
                                                                                             Emergency Management Agency to palticipate in an inspeetion procedure set
        We will make a refund to you. according to applicable NF1P rules. of                 fOlth in National Flood Insulllllce pl\)~mm Regulations (44 CFR 59.30), During
        Ihe premium for the poliCY nOI being kept III effect.                                the sevellll years this inspection proeedure will be in vince, you moy be required
                                                                                             to obtain and submit an inspection repolt from you,' community ce.1ifying
1. 	 The insured's option under this Condition U. Duplic.te Policies Not                     whether or not your insured property i, in compliance with the community's
     Allowed to elect which NFIP pollc)' to keep in erfect does not apply                    n"odplain ,nnnngement Oldinance betar. ;'Qu can renew ;'QI.r policy. You will
     when duplicotes have been knowingly created, Losse~ occu,,;ng under                     be noli/jed in wtiting of this require,"ent approximately 6 months before a
     such drcllmstances will be adjusted according to the telIDS and                         l'CncwlIl tint" and allllin al the limo your n:newnl bill is senL
     conditions oftlte earlier poll cr. The policy with Ihe laler effective date
     must be canceled,                                                                       ~--~~~~--------------------------
                                                                                             Company Ollicinl Signature
        Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 18 of 23 PageID #: 54




                                                                                      Policy Number: 8704793333 2011
                                                         FLOOD POLICY DECLARATIONS 

                                                     Cornerstone National Insurance Company 

CORNERST8NE
rt,lilr)l!,ii iI1Stlti.lnCC tli1i1I.~JII)
                                                                                                                                      010101
                  Type: New Business                                                  To report a claim call; (800) 759-8655
                  Policy Period: 04/28/2011 To 04/28/2012                             These Deolarations are effective
                  Form:          Dwelling'                                            as of: 04/28/2011 at 12:01 11M


                  Producer Name and Mailing Address:                                  Insured Name and Mailing Address:
                  COON INSURANCE AGENCY INC                                           MCIVAN JONES FA&~S INC
                  PO BOX 6S                                                           501 S 3nST RD
                  CHARLESTON, MO 63834·0068                                           EAST PRAIRIE, MQ 63845




                  Agent/Agency #: 08100 -0l028-0:;J4                                  Processed by:
                                                                                      Flood Insurance Processing Center
                  Reference #:
                                                                                      P.O. Box 2057   Kalispell MT 59903-2057
                  Phone#: (573)683-3755

                  Iusured Property Address:                                           Coverage Limitations May Apply, Refer to Your
                 SEC 19 TPW 24 ROE 16                                                 Flood Insurance Policy for Details.
                 301 S 521ST RD
                 EAST PRAIRIE, MO 63945-8747
                                                                                      Building Description:
                 Premium Payor: Insured                                               Single Family
                                                                                      Two r100rs
                 Rated Zone: AE           Current Zone:                               Elevated Without Enclosure
                 Community Number: 29 0781 0125 C                                     Main House/Building
                 Community Name: MISSISSIPPI COUNTY *
                 Grandfathered: No
                  Pre-Firm Construction                                               Replacement Cost:            $56,000
                  Program Type: Regular                                               Number of Units:         1




                                            56,000    .760   I   .fiOO   1,000   32     458.00




                                                                                                                                  .00
                                                                                                                               568.00



                 First Mortgage:                                                      Third Mortgage:
                 FOCUS BANK
                  PO BOX 220
                 !~ST      PRAIRIE, MO 63845-0220



                 Second Mortgage:                                                     Fourth Mortgage:                                         "    .
                                                                                                                                               Ii




                        This Declaration Page, in conjunction Ivith the policy, constitutes your Flood Insurance Policy. 

                  In WITNESS WHEREOF, we have signed this policy below and herby enter into this Insurance Agreement. 



                                                     .J..- P~id~ c:r~
         Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 19 of 23 PageID #: 55



                                                                                                   Policy Number: 87047933272011
                                                           FLOOD POLICY DECLARATIONS
                                                       Cornerstone National Insurance Company
                                                                                                                                                       v.~
  CORNl3;RsteNE                                                                                                                                        ~
   lk'iI.l(JlI~1 ilistfl"<liicc) ci)!lir)(Jr~j

                     Type: New Business                                                            To report a claim call: (aOO) 759-8656
                     Policy Period: 04/28/2011 To                 04/28/2012                       These Declarations are effective
                     Form: General Property                                                        as of: 04/28/2011 at 12:01 AM


                     Producer Name and Mailing Address:                                            Insured Name and Mailing Address:
                     COON INSURANC! AGENCY INC                                                     McrVAN JONES FARMS INC
                     PO BOX 68                                                                     501 S 3219'1' liD
                     CHARLESTON, MO 63834-0068                                                     EAST PRAIRIE, MO    63845




                     Agent/Agency #:             08100 - 01028 - 024                               Processed by:
                                                                                                   Flood Insurance Processing Center
                     Reference #:                                                                  P.O. Box 2057 Kalispell MT 59903-2057
                     Phone#: (573)68:3-3755

                     Insured Property Address:                                                     Coverage Limitations May Apply, Refer to Your
                     SEC 24 TWP 24 RGE 16                                                          Flood Insurance Policy for Details.
                     301 S 521S'1' liD
                     EAST PRAIRIB, MO 63945-8747
                                                                                                  Building Description:
                     Premium Payor: Insured                                                       Non-Residential
                                                                                                  One Floor
                     Rated Zone: AE           Current Zone:                                       Slab on Grade
                     Community Number: 29 0761 0125 C                                             Agricultural Building
                     Community Name: MISSISSIPPI COUNTY *
                     Grandfatbered: No
                     Pre-Firm Construction                                                        Replacement Cost:                       $65,000
                     Program Type: Requ1ar                                                        Number of Units:             1




                     First Mortgage:                                                              Third Mortgage:
                     FOCOS !lANK
                     1'0   sex     220
                     EAST PRAIRIE, MO S3B¢S-0220



                    Second Mortgage:                                                              Fourth Mortgage:




                           This Declaration Page, in conjunction with the policy, constitutes your Insurance Policy.
                     In WITNESS WHEREOF, we have signed this policy below and herby enter into this Insurance Agreement.



87047933272011 04/29/21111
                                                     ~ P~hl~                       cY-, .
                                                                 Ccrnarseone Naeional Insurance Corncanv                       C~TtlI!C   INS 3N OXP OnOODl7191S'
         Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 20 of 23 PageID #: 56



                                                                                            Policy Number:87047933242011
                                                     FLOOD POLICY DECLARATIONS
                                                  COrnerstone National Insurance Company
  coRNr~RS'J'.Nr~~
   n;lllom'ii In:;\lJ\li~;c (;i) ii! ¥llIy
                                                                                                                                                  060101
                    Type: New 'Susiness                                                     ~  report a claim call: (800) 759-6656
                    Policy Period: 04/28/2011 To 04/28/2012                                 These Declarations are effective
                    Form: Dwellinq                                                          as of: 04/28/2011 at 12: 01 AM


                    Producer Name and Mailing Address:                                      Insured Name and Mailing Address:
                    COON INSURANCE AGENCY INC                                               MCIVAN JONES FARMS INC
                    PO BOX 69                                                               301 S S21ST RD
                    CHARLESTON, MO 63934-0068                                               EAST PRAIRIE, MO 63645-8747




                   Agent/Agency #:           08100-01028 - 024                              Processed by:
                                                                                            Flood lnsurance procesain9 Center
                   Reference #:                                                             P.O. Box 2057 Kalispell MT 59903-2057
                   Phone#: (573)6E13-3755

                   Insured Property Address:                                                Coverage Limitations May Apply, Refer to Your
                   301 s 521ST ltD                                                          Flood Insurance Policy for Details.
                   EAST PRAIRIE, MO 63845·8747

                                                                                           Building Description:
                   Premium Payor: Insured                                                   Sinqle Family
                                                                                           Two Flool:'s
                   Rated Zone: AE           Current Zone:                                   Elevated Without Enclosure
                   Community Number: 29 0761 0125 C                                        Main House/Building
                   Community Name: MISS!SSIPPI COUNTY"
                   Grandfathered: No
                   Pre-Firm Construction                                                    Replacement Cost:             $166,000
                   Program Type: Reqular                                                    Number of Uults:         1




                   First Mortgage:                                                         Third Mortgage:
                   FOCtlS BANK
                   PO BOX 220
                   EAST PRAIRIE, KO 63845-0220



                   Second Mortgage:                                                        Fourth Mortgage:




                               This Declaration Page, in conjunction with the policy, constitutes your Flood Insurance Policy.
                   In WITNESS WHEREOF, we have signed this policy below and herby enter into this Insurance Agreement.

                                                .J-- P~;d?'-- ~;:::::r 

87047933242011         0(/291l011                          Cornerstone National Insurance Com04nv                    CSTDEC INS 3N   OX~   000001739155
         Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 21 of 23 PageID #: 57



                                                                                                    Policy Number: 87047933322011
                                                              FLOOD POLICY DECLARATIONS
                                                          Cornerstone National Insurance Company
  CQ~'J[~RST.l\TE
  ll<llii.lliill ill!'l JI.tIOO.r(X)(r,rtlll'1

                     Type: New Bueinesil                                                            To report a claim eall; (SOD} 759-8556
                     Policy Period: 04/28/2011                  To 04{28/2012                       ~heae Declaratione are effective

                     Form: General Property                                                         as of: 04/28/2011 at 12: 01 AM


                     Producer Name and Mailing Address:                                             IUSllred Name and Mailing Address:
                     COON INSURANCE AGENCY INC                                                      KClVAN JONSS FARMS INC
                     PO BOX 6a                                                                      501 S 3alST RD
                     CHARLESTON. MC 63834-0068                                                      EAST PRAIRIE, MO 63B45




                    Agent/Agency #:                08100 - 01028 - 024                              Processed by:
                                                                                                    Flood Insurance Processing Center
                    Reference #:                                                                    P.o. Box 2057 Kalispell NT 59903-2057
                    Phone #: (573} 6133·3755

                     Insured Property Address:                                                      Coverage Limitations May Apply, Refer to Your
                    SEC 19 TWP 24 RGE 16                                                            Flood Insurance Policy for Details.
                    301 S 521ST RD
                    EAST PRAIRIE, MO 63845-8747
                                                                                                    Bttilding Description: 

                    Premium Payor: Insured                                                          Non-Residential 

                                                                                                    One Flool: 

                    Rated Zone: AS            Current Zone:                                         Slab On Grade 

                    CommllUity Number: 29 0781 0125 C                                               Poolhouse, clubhouse, or Other 

                    Community Na.me: MISSISSIPPI COUNTY •
                    Graudfathered: No
                    Pre-Firm COnstruction                                                           Replacement Cost:            $35,000
                    Program Type:                   Regular                                         Number of Units:         1




                                                 35,000    .830/ 1.190   1.000                                                               306.00
                                                                                                                                              70.00
                                                                                                                                                .00
                                                                                                                                              40.00
                                                                                                                                                .00
                                                                                                                                                _00
                                                                                                                                             416.00



                    First Mortgage:                                                                 Third Mortgage:
                    FOCUS BANK
                    PO BOX ~20
                    EAST PRA!RIE, MO 63845-0220



                    Second Mortgage:                                                               Fourth Mortgage:




                          This Declaration Page, in conjunction with the policy, constitutes your Flood Insurance Policy.
                     In WITNESS WfIEREOF, we have signed this I)olicy below and herby enter into this Insurance Agreement.


                                                          ..J- P~id~ ff~                                                     

870479333220ll           04/2912011                                COrnerstone National rnsurance Comoanv
         Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 22 of 23 PageID #: 58



                                                                               Policy Number: 87047933292011
                                                          FLOOD POLICY DECLARATIONS
                                                  Cornerstone National Insurance COmpany
  COI~NI~RS' "eN fi;
   rkilk~ lui ins(li<llIO.! c(~)jI.:;JflY
                                                                                                                               lMIOI
                   Type: New Business                                          To report a claim call: (SOO) 759-9656
                   Policy Period: 04(29/2011 To               04(28(2012       These Declarations are effective
                   Form: General Property                                      as of: 04/28(;1011 at 12101 AM


                   Producer Name and Mailing Address:                          Insured Name and Mailing Address:
                   COON INSURANCE AGENC'l INC                                  MCIVAN JONES FARMS INC
                   PO BOX 68                                                   501 S 3UST RD
                   CHARLESTON, MO 63B34'0068                                   EAST PRAIRIE, MO   6JB4S




                   Agent/Agency #:          08100 - 0102 a - 024               Processed by:
                                                                               Flood Insuranoe processing Center
                   Reference #:
                                                                               P.O. Box 2057 Kalispell MT 59903-2057
                   Phone#: (573)6B3-3755

                   Insured Property Address:                                   Coverage Limitations May Apply, Refer to Your
                  SEC 19 TWP 24 RGE 16                                         Flood Insurance Policy for Details.
                  301 8 521ST RD
                  EAST PRAIRIE, MO 63845·a747
                                                                               Building Description:
                  Premium Payor: Insured                                       Non-Rosidential
                                                                               One Floor
                  Rated Zone: AE           Current Zone:                       Slab On Grade
                  Community Number: 29 0791 0125 C                                                   FARM OFFICE
                  Community Name: MISSISSIPPI COUNTY *
                  Grandfathered: No
                  Pre-Fi~            COnstruction                              Replacement Cost:              $6,000
                   Program Type: Regular                                       Nu.11lher of Units:        1




                                                                                                                                       . :",



                  First Mortgage:                                              Third Mortgage:
                  FOCUS BANK
                  PO BOX 220
                  EAST PRAIRIE, MO 63845-0220



                  Second Mortgage:                                             Fourth Mortgage:




                         'l'his Declaration Page, in conjunction with the policy, constitutes your Flood Insurance Policy. 

                   In WITNESS WHEREOF, we have signed this policy below and herby enter int.o this Insurance Agreement. 



                                               .J--.P~;d~ ~~                                                  

87047933a1011          04/2912011
          Case: 1:12-cv-00064-AGF Doc. #: 2 Filed: 04/23/12 Page: 23 of 23 PageID #: 59



                                                                                       Policy Number: 87047933252011
                                                   FLOOD POLICY DECLARATIONS 

                                               Cornerstone National Insurance Company

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                                                                                                                                    080101
                     Type: New Businesil                                               TO report a claim call: (800) 75~-a656
                     Policy Period: 04./28/2011 To    04/26/2012                       These Declarations are effective
                     Form: General Property                                            as of: 04/:lB/2011at 12:01 AM


                     Producer Name and Mailing Address:                                Insured Name and Mailing Address:
                     COON INSURANCE AGENCY INC                                         MCIVAN JONES FARMS INC
                     PO BOX 68                                                         501 S 321ST RO
                     CHARLESTON, MO 63834-0068                                         EAST PRAIRIE, MO    63845




                     Agent/Agency #: 08100-01028 -024                                  Processed by:
                                                                                       Flood lnsurance Processing Center
                     Reference #:                                                      P.O. Sox 2057      Kalispell MT 59903·2057
                     Phone #: (573) 683 - 3755

                     Insured Property Address:                                         Coverage Limitations May Apply, Refer to Your
                     SEC 24 TWP 24 RGE 16                                              Flood Insurance Policy for Details.
                     301 S 52lST RD
                    BAST PRAIRIE, MO 63845-8747
                                                                                       Building Description:
                    Premium Payor: Insured                                             Non-Residential
                                                                                       One Floor
                    Rated Zone: AE           Current Zone:                             Slab On Grade
                    Community Number: 29 07B1 0125 C                                                       GRAIN COMPLEX
                    Community Name: MISSISSIPPI COUNTY'"
                    Graudfathered: No
                    Pre-Firm Construction                                              Replacement Cost:               $60,000
                    Program Type: Reqular                                              Number of'Units:            1




                    First Mortgage:                                                   Third Mortgage:
                    pocos       BANK
                    PO    eox    99
                    EAST     PRAIRIE, MO 63845·0099



                    Second Mortgage:                                                  Fourth Mortgage:




                           This Declaration Page, in conjunction with the policy, coostitutes your Flood Insurance Policy.
                     In WITNESS WHEREOF, we have signed this policy below and herby enter into this Insurance Agreement.


                                              ..J..-. P~id~             ff::::::r 

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